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     Attorney  forPlaintiffs
                   Plaintiffs
                 DOMINGUEZ INDIVIDUALLY
     JESSICA DOMINGUEZ
6    AND JESSICA DOMINGUEZ
                       DOMINGUEZ AS GUARDIAN
     AD LITEM FOR FOR JAD (1), JAD (2)
7    AND JAD (3)
8
9                                UNITED STATES
                                 UNITED        DISTRICT COURT
                                        STATES DISTRICT COURT
10
10                              NORTHERN
                                NORTHERN DISTRICT OF
                                                  OF CALIFORNIA
11
11                                        SAN JOSE DIVISION
                                          SAN      DIVISION
12
12

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13
     JESSICA   DOMING UEZINDIVIDUALLY
     JESSICA DOMINGUEZ       INDIVIDUALLY                      No.: 5:18-cv-04826
                                                          Case No.: 5:18-cv-04826BLM
                                                                                  BLM
14        JESSICADOMINGUEZ
     AND JESSICA    DOMINGUEZAS   AS
     GUARDIAN AD
     GUARDIAN    AD LITEM
                      LITEMFOR
                            FORJAD
                                 JAD(1),
                                      (1),JAD
                                           JAD            PLAINTIFFS’       IN SUPPORT OF
                                                          PLAINTIFFS' BRIEF IN
15
15                                                        SUMMARY JUDGMENT MOTION, OR
             JAD (3),
     (2) AND JAD  (3),
                                                          IN THE
                                                          IN THE ALTERNATIVE,
                                                                 ALTERNATIVE, PARTIAL
16
16                                                        SUMMARY JUDGMENT
                  Plaintiffs,
17
17
            vs.
            VS.
18
18                                                        DATE:           21, 2022
                                                                   April 21,  2022
                                                          TIME:          a.m.
                                                                   9:00 a.m.
19
19   CITY OF
          OFSAN
              SANJOSE,
                  JOSE,SAN
                         SANJOSE
                              JOSE POLICE
                                     POLICE
                                                                            Floor
                                                          DEPT.:   3, Fifth Floor
     DEPARTMENT MICHAEL
     DEPARTMENT,   MICHAELPINA,
                             PINA AND
                                    ANDDOE
                                        DOE
                                                          JUDGE: Hon. Beth Labson
                                                                   Hon.   Beth      Freeman
                                                                                Labson Freeman
20           OFFICERS22through
     POLICE OFFICERS    through5,5

21
21                Defendants.                                   Date: August
                                                          Trial Date: August22,
                                                                             22,2022
                                                                                 2022

22

23          Pursuant totoFederal
                          FederalRules
                                  Rulesof of
                                          Civil Procedure,
                                             Civil         RuleRule
                                                   Procedure,   56 and
                                                                    56 United States States
                                                                        and United   District District

24   Court, Northern
            NorthernDistrict
                     Districtofof
                                California, Local
                                  California,     CivilCivil
                                              Local     RuleRule
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                                                                        plaintiffs          the following
                                                                                     the following
                                                                                   submit

25   briefing ininsupport
                   supportof of
                             their motion
                                their     for summary
                                      motion          judgment,
                                               for summary      or in theoralternative,
                                                           judgment,                    partial
                                                                             in the alternative, partial

26   summary  judgment,and
     summary judgment,  andininopposition
                                oppositiontotodefendants'
                                               defendants’ motion
                                                          motion forfor summary
                                                                     summary    judgment.
                                                                             judgment.

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                                                      I
                                                      1
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                                 and unreasonable
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 I                                             INTRODUCTION
                                               INTRODUCTION

2            Defendants'
             Defendants’opposing
                         opposingpapers fail fail
                                   papers    to set
                                                  to forth eithereither
                                                      set forth   admissible evidence
                                                                        admissible    creating creating
                                                                                    evidence   a        a
3    genuine
     genuineissue
              issueof of
                      material fact fact
                         material   or persuasive argument
                                         or persuasive     that plaintiffs
                                                        argument     that are not entitled
                                                                           plaintiffs are to
                                                                                           not entitled to

4    judgment
     judgmentasasa amatter
                     matterof of
                              lawlaw  on their
                                   on their causes      of action
                                                   of action
                                               causes        basedbased  upon
                                                                   upon 28    28 section
                                                                           U.S.C. U.S.C. 1983,
                                                                                         section 1983,

5    and California
         CaliforniaCivil Code
                     Civil    sections
                           Code        51.7 51.7
                                 sections   and 52.1.
                                                 and The objectively
                                                      52.1.          reasonablereasonable
                                                             The objectively    evidence evidence,
6    demonstrates
     demonstratesthat   Decedent
                   thatDecedent Dominguez    never
                                          never
                                  Dominguez     reached for a for
                                                    reached       a weapon
                                                              weapon  prior toprior
                                                                               beingto shot
                                                                                        being
                                                                                            by shot by

7    defendant
     defendantPina,
               Pina,and
                     andmoreover,
                         moreover,all all putative
                                      putative     evidence
                                               evidence          the contrary
                                                        to thetocontrary        setbyforth
                                                                         set forth         by defendants
                                                                                       defendants

8    is an
        an ineffectual
            ineffectualand improper
                         and        attempt
                             improper       to cover-up
                                        attempt         defendants'
                                                 to cover-up        illegal acts.
                                                             defendants’          Nonetheless,
                                                                             illegal acts. Nonetheless,

9    defendants
     defendantsfiled
                  fileda cross-motion for summary
                         a cross-motion           judgment,
                                           for summary judgment,   and plaintiffs
                                                            and plaintiffs hereby submit thissubmit this
                                                                                    hereby

10   briefing
     briefing totobuttress
                   buttresstheir own
                             their   motion
                                   own      for summary
                                       motion           judgment,
                                                for summary       and toand
                                                            judgment,    address the arguments
                                                                            to address  the arguments
11
11   raised inin defendants'   cross-motion
                  defendants’cross-motion for for summary
                                              summary     judgment.
                                                      judgment.

12           Notably, and
             Notably,  andirreversibly fatal to
                              irreversibly      defendants'
                                              fatal         motion for motion
                                                    to defendants’     summaryfor
                                                                               judgment,
                                                                                  summary judgment,
13   defendants
     defendantsdo
                donot
                   notaddress,
                       address,in in
                                  any    manner,
                                       manner,
                                     any       the the  opinion
                                                    opinion      of their
                                                            of their      own ballistics’
                                                                     own ballistics' expertexpert
                                                                                            witnesswitness

14   that states
     that        Decedent
            states        Dominguez'
                   Decedent          arm was
                             Dominguez’      raised
                                           arm   waswhen the fatal
                                                      raised   whenbullet
                                                                       thewasfatal
                                                                               fired.bullet was fired.
15   Declaration
     DeclarationofofJohn
                     JohnKevin Crowley
                           Kevin       in Support
                                 Crowley               of Plaintiffs’
                                                  of Plaintiffs'
                                           in Support            MotionMotion (“Crowley
                                                                              ("Crowley Dec.",  Exhibit
                                                                                         Dec.”, Exhibit

16   7; Edwards        pg.61,61,1.
                Depo.,pg.
        EdwardsDepo.,         I. 11 11 through
                                    through     62, I.62,1.4;
                                            pg. pg.    4;     Crowley Dec., Exhibit
                                                              CrowleyDec.,  Exhibit6;   EdwardsRule
                                                                                    6; Edwards  Rule

17   26 Declaration,
        Declaration,p. p.31,31,
                             ¶5).1T5).
                                   Instead of addressing
                                        Instead          the determinative
                                                 of addressing             evidence at
                                                                 the determinative     issue in at issue in
                                                                                    evidence

18   this case,
           case,defendants'
                 defendants’motion chooses
                              motion       to cast
                                      chooses   to Dominguez as a degenerate
                                                   cast Dominguez            for which for
                                                                    as a degenerate    the which the
19   world
     world should
            shouldshed
                   shedfew tears
                         few     as as
                             tears  a result of his
                                       a result  ofdeath. But as But
                                                    his death.   explained          herein, Dominguez
                                                                           herein, Dominguez
                                                                     as explained

20   was
     was ininthe
               theprocess of rehabilitating
                    process                 his lifehis
                              of rehabilitating      andlife
                                                          defendant Pina's bullet
                                                             and defendant        unjustly
                                                                              Pina’s       denied
                                                                                       bullet unjustly denied
21
21   Dominguez’
     Dominguez' path       redemption.
                 pathtotoredemption.
22          And the
                 theCity
                     CityofofSan
                              SanJose andand
                                   Jose   SanSan
                                              JoseJose
                                                   Police Department
                                                       Police               are for
                                                                     are liable
                                                              Department            the for
                                                                                 liable     the actions
                                                                                        actions

23   of defendant Pina,because
        defendantPina,  because  absent
                               absent thethe  official
                                          official     stamp
                                                   stamp       ofDistrict
                                                          of the the District  Attorney’s
                                                                          Attorney's        and theand the
                                                                                     report report

24   complicit,
     complicit,convenient   non-observations
                convenientnon-observations of defendant         fellowfellow
                                                        Pina'sPina’s
                                               of defendant            officersofficers
                                                                                 at the scene, scene, the
                                                                                        at the the
25   true
     true fact
           factthat
                thatananunarmed
                         unarmedDecedent waswas
                                  Decedent   killed whilewhile
                                                  killed            were were
                                                               his arms
                                                          his arms       raisedraised      in his in his
                                                                                      and seated
                                                                                and seated

26   vehicle
     vehiclewould
             wouldhave
                   havecome
                         come  to light
                            to light immediately. As setAs
                                        immediately.     forth
                                                            setbelow
                                                                forth and in plaintiffs'
                                                                       below             moving moving
                                                                              and in plaintiffs’

27   papers,
     papers, even
              evenunder defendants'
                    under           version
                           defendants’      of the facts,
                                         version   of thenofacts,
                                                            reasonable jury could find
                                                                  no reasonable     juryin could find in
28   defendants'
     defendants’favor and
                  favor   thethe
                        and   relevant law was
                                  relevant  law clearly established.
                                                 was clearly         Thus, the Thus,
                                                               established.    Court should
                                                                                      the Court should


                                               6
            PLAINTIFFS' COMBINED BRIEF
            PLAINTIFFS’ COMBINED       RE SUMMARY
                                 BRIEF RE SUMMARY JUDGMENT
                                                  JUDGMENT MOTIONS-5:18-CV-04826 BLM
                                                           MOTIONS-5:18-CV-04826 BLM
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I
1    grant plaintiffs' motion for
           plaintiffs’ motion      summaryjudgment
                               forsummary  judgmenton
                                                    ontheir  causesofofaction
                                                       theircauses             anddeny
                                                                        actionand  denydefendants'
                                                                                        defendants’

2    qualified immunity  defense.
                immunitydefense.

3                                               DISCUSSION
                                                DISCUSSION

4
        A. Defendants'
           Defendants’ Motion For Summary
                         Motion           Judgment
                                  For Summary      Cannot Be Cannot
                                                Judgment     Granted Where, As
                                                                     Be Granted Where, As
5
5           Here,
            Here, The
                    TheEvidence Demonstrates
                         Evidence            No Triable
                                     Demonstrates   NoIssue  Of Fact
                                                         Triable     WithOfRespect
                                                                  Issue      Fact To
                                                                                   With Respect To
            Plaintiffs'
            Plaintiffs’Causes
                        CausesOf Action And Defendants'
                                 Of Action              QualifiedQualified
                                            And Defendants’      Immunity Defense
                                                                            Immunity Defense
6

7           "A
            “A party
               party moving
                     movingfor  summaryjudgment
                            forsummary          hashas
                                         judgment   thethe   initial
                                                        initial      burden
                                                                 burden       of informing
                                                                         of informing  the court
                                                                                            the court

8    of the basis
            basis of
                  ofthe
                     themotion andidentifying
                        motionand                      the
                                    identifyingforforthe   court
                                                         court   those
                                                               those   portions
                                                                     portions     of the
                                                                              of the     materials
                                                                                      materials     on file
                                                                                                on file

9         demonstratethe
     that demonstrate                 anyissues
                          absenceofofany
                      theabsence                      material
                                           issuesofofmaterial fact."   Orozco v.v. County
                                                                fact.” Orozco       Countyofof Yo/o,
                                                                                               Yolo, 814

10
10   F.Supp. 885,
             885, 890
                  890 (E.D.
                       (E.D. Cal.
                             Cal. 1992).
                                   1992).Here, plaintiffs
                                           Here,          have
                                                  plaintiffs      submitted
                                                               submitted
                                                             have        the the
                                                                              evidence necessary
                                                                                  evidence necessary

11   to demonstrate
        demonstratethat
                     thatDecedent
                          Decedentwas shot
                                    was    withwith
                                        shot    his arms raised,
                                                    his arms     and the
                                                              raised, andkey
                                                                           theevidence that
                                                                                key evidence that

12
12   supports plaintiffs'
               plaintiffs’position, i.e.,i.e.,
                            position,      defendants' own own
                                               defendants’ expertexpert
                                                                  witness opinion,opinion,
                                                                        witness    is completely
                                                                                           is comrletely

13
13   ignored and
             and unaddressed
                  unaddressedbybydefendants.
                                  defendants.To overcome a motion
                                                To overcome       for summary
                                                             a motion          judgment,
                                                                        for summary judgment,

14   an opposing
        opposingparty
                 partyneed
                       needonly adduce
                             only      evidence
                                  adduce        that that
                                          evidence   raises a genuine
                                                          raises      disputedispute
                                                                 a genuine    of material
                                                                                     of material

15
15   fact. See Fed. R.      P. 56(a). And
                       Civ. P.
                    R. Civ.           And while
                                          whilethe
                                                theCourt
                                                    Courtviews thethe
                                                           views    evidence in the
                                                                       evidence     lightlight
                                                                                 in the   mostmost

16
16   favorable
     favorable to
                tothe
                   thenon-moving
                       non-movingparty, nonetheless
                                   party,           thethe
                                          nonetheless   Court mustmust
                                                           Court   placeplace
                                                                         greatgreat
                                                                               weight on theon the
                                                                                    weight

17
17   fact that
          that the
                the defendants
                     defendantsdo  notsubmit
                                donot  submitevidence
                                              evidencethat    either
                                                           either
                                                        that         explains
                                                                  explains    or addresses
                                                                           or addresses theirtheir
                                                                                               ownown

18
18   expert witness testimony. See Green
            witnesstestimony.      Greenv.v.City & County
                                              City        of San
                                                   & County      Francisco,
                                                              of San Francisco, 751
                                                                                751 F.3d
                                                                                    F.3d 1039,
                                                                                          1039,

19
19        (9th Cir.
     1045 (9th       2014); see also
               Cir. 2014);      alsoAmbat
                                     Ambatv. v.City & County
                                                  City       of San
                                                       & County     San Francisco, 757 F.3d
                                                                 of Francisco,         F.3d 1017,
                                                                                             1017,

20             Cir. 2014).
     1031 (9th Cir.
     1031           2014).

21
21          With respect
                  respect to  plaintiffs’opposition
                           toplaintiffs'  oppositiontotodefendants' motion
                                                          defendants’      for for
                                                                      motion       summary
                                                                               summary judgment, it it
                                                                                           judgment,

22   is not the function of     Court to
                         of the Court to determine
                                         determinethe weighttotobe
                                                   theweight        giventotothe
                                                                 begiven      theevidence  produced;
                                                                                  evidenceproduced;

23   courts must
             mustrespect thethe
                   respect   exclusive province
                                exclusive       of theof
                                           province    jurythe
                                                             to determine the credibility
                                                                jury to determine   the ofcredibility of

24   witnesses, resolve
                 resolveevidentiary conflicts,
                          evidentiary          and and
                                       conflicts,  draw draw
                                                        reasonable inferences
                                                              reasonable      from proven
                                                                          inferences  from proven

25          Gonzalezv.v.City
     facts. Gonzalez     Cityofof Anaheim, 747 F.3d
                                Anaheim,       F.3d 789,
                                                     789, 795
                                                           795(9th  Cir.2014).
                                                               (9thCir.  2014).And while
                                                                                 And        plaintiffs
                                                                                         plaintiffs
                                                                                     while

26   acknowledge
     acknowledge that,
                  that, because
                         becausean
                                 aninquiry
                                     inquiryinto
                                              intoexcessive force
                                                    excessive        nearly
                                                                  nearly
                                                               force     always requires
                                                                            always       a jury
                                                                                   requires     to to
                                                                                              a jury

27                disputed factual
     sift through disputed  factualcontentions,  andtotodraw
                                    contentions,and      drawinferences
                                                               inferences therefrom,
                                                                        therefrom, thethe Courts
                                                                                        Courts   have
                                                                                               have

28   held on many occasions
                  occasions that
                             that summary
                                  summaryjudgment      judgmentasasa amatter
                                          judgmentororjudgment         matterofoflaw
                                                                                   lawininexcessive
                                                                                           excessive



                                               7
            PLAINTIFFS'
            PLAINTIFFS’ COMBINED BRIEFRE
                        COMBINEDBRIEF  RESUMMARY
                                          SUMMARY  JUDGMENT
                                                 JUDGMENT MOTIONS-5:18-CV-04826 BLM BLM
                                                            MOTIONS-5:18-CV-04826
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1I   force cases
            casesshould
                  shouldbebegranted sparingly,
                              granted          in this
                                      sparingly,       casecase
                                                   in this  where eveneven
                                                                where  the defendants' expert expert
                                                                            the defendants’

2    witness affirms
             affirms the   factsininsupport
                      the facts      supportofofexcessive   force,summary
                                                 excessiveforce,    summary judgment
                                                                          judgment    is appropriate
                                                                                   is appropriate on on

3              plaintiffs. See Smith
            ofplaintiffs.
     behalf of                  Smithv.v.City    of Hemet, 394 F.3d
                                              of Hemet,
                                            City               F.3d 689,
                                                                     689,701
                                                                          701(9th Cir.Cir.
                                                                               (9th    2005);
                                                                                           2005); see

4    also Green,
     also Green, 751
                 751 F.3d
                     F.3d at 1049.
                          at 1049.

5
             Defendants' Putative
          B. Defendants’
          B.                      Justification
                            Putative            For The For
                                        Justification   Use Of
                                                            TheExcessive
                                                                  Use Of Force Against Force Against
                                                                            Excessive
6
6                Dominguez Is Unreasonable
                 Dominguez                 As A Matter
                              Is Unreasonable    As A Of Law And
                                                       Matter Of Summary
                                                                 Law AndJudgment
                                                                         Summary Is Judgment Is
                 ThereforeAppropriate
                 Therefore Appropriate
7
                 As an initial
                        initial matter, defendantsignore
                                matter, defendants  ignorethe
                                                           thefacts
                                                                factsofofthis
                                                                           thiscase
                                                                                caseand   citetotocases
                                                                                     andcite        cases that
                                                                                                        that areare
8
     not germane
          germanetotothis scenario.
                        this        Here,Here,
                             scenario.   the evidence demonstrates
                                               the evidence        that defendant
                                                            demonstrates          Pina
                                                                            that defendant Pina
9
     violated proper
               properpolice
                      policeprocedures by by
                              procedures  notnot
                                              seeking cover
                                                 seeking    and and
                                                         cover  creating "time “time
                                                                     creating        and distance”
                                                                               and distance"
10
10
     once the
           the suspect
                suspectwas
                        was"contained", i.e.,i.e.,
                             “contained”,      thethe
                                                   SJCSJC
                                                       special squad
                                                          special    "CRU"“CRU”
                                                                   squad    (Covert Response
                                                                                 (Covert Response
11
     Unit) properly
            properlyexecuted
                     executedthethe
                                 VCTVCT
                                     (Vehicle Containment
                                         (Vehicle         technique).
                                                  Containment         Given theGiven
                                                                technique).     tacticsthe tactics
12
12
     employed by
               bydefendants,  defendant
                  defendants,defendant   Pina
                                       Pina   escalated
                                            escalated thethe  situation
                                                          situation     by breaking
                                                                    by breaking      with normal
                                                                                with normal
13
            protocol.
     police protocol.
14
                       is because
                 This is           the VCT
                          because the  VCThad workedas
                                           hadworked     intended,Dominguez
                                                     asintended,   Dominguezhad
                                                                              hadbeen
                                                                                   been successfully
                                                                                      successfully
15
15
     contained, and
                and was
                    wasnot
                        notphysically
                            physicallyresisting or or
                                        resisting     attempting
                                                   attempting     to flee;
                                                              to flee;     in addition,
                                                                       in addition,     seven
                                                                                    seven      to nine
                                                                                          to nine
16
16
         memberswere
     CRU members wereactive
                      activein in response
                                response     to the
                                         to the      situation. (Crowley
                                                 situation.     (CrowleySupp.
                                                                         Supp.Decl.,       12,
                                                                               DecI., Exh. 12,
17
     DeFoe Depo.,
           Depo., pg.  11, I.I. 16-19;
                  pg. 11,        16-19; pg.  12,1.
                                         pg.12,     14-20;pg.
                                                I. 14-20;      20,1.
                                                           pg.20,     11-14).To To
                                                                  I. 11-14).       expound
                                                                                expound    on that
                                                                                        on that     point,
                                                                                                point,
18
18
     once the
           theVCT
               VCTwaswas
                      accomplished, and it and
                          accomplished,    was properly
                                               it was perfected, the suspectthe
                                                        properly perfected,  wassuspect was
19
19   ,,               ,,
                                               seek cover
                                         to to seek  coverand
                                                           andgain
                                                                gain  distance
                                                                   distance andand
                                                                                wait wait for support.
                                                                                     for support.
             .                 .

     "contained," theofficers
      contained, the  officersthen
                                thenneed
                                      need
20
     That was
          was not
              not done
                   donehere.
                        here.Pina
                              Pinavoluntarily
                                   voluntarilyplaced himself
                                                placed       in danger
                                                       himself            by positioning
                                                                       by positioning
                                                                in danger                himself
                                                                                      himself in in
21
21
     an "open
        “open air"
               air”standing
                    standingstance, over
                              stance,    thethe
                                      over   front    quarter
                                                   quarter
                                                front         panel
                                                           panel      of Officer
                                                                 of Officer      Ferguson’s
                                                                            Ferguson's       vehicle,
                                                                                       vehicle,
22
     perpendicular
     perpendicular to
                    to the
                        thesuspect,
                            suspect,and
                                     andonly 1010
                                          only     feet
                                                feet    away. (Crowley
                                                     away.    (CrowleySupp.  DecL, Exh. 13,
                                                                       Supp.Decl.,           Pina
                                                                                        13, Pina
23
     Depo., pg.  75, I.I. 19
            pg. 75,        19through
                              throughpg.
                                      pg.76,76,       CrowleySupp.
                                                I. 1; Crowley
                                             I. 1;                  DecL, Exh. 12,
                                                              Supp.Decl.,      12, DeFoe
                                                                                   DeFoeDepo.,
                                                                                         Depo.,pg.
                                                                                                pg.
24
     13,
     13, I.I. 18-22.)
              18-22.) This was
                        This   a poor
                             was      tactical
                                  a poor       decision
                                          tactical      on defendant
                                                   decision          Pina's Pina’s
                                                             on defendant   part and cannot
                                                                                   part and be
                                                                                            cannot be
25
     used to
           to support
               supportthe
                        thereasonableness of his
                             reasonableness   of actions in shooting
                                                 his actions         Dominguez.
                                                               in shooting      Defendant
                                                                           Dominguez.  Defendant
26
     Pina's
     Pina’s own acts placed him
                acts placed            positionininwhich
                             himininaaposition      whichhehehad
                                                              hadtotoimproperly
                                                                       improperly rely
                                                                                rely onon      subjective
                                                                                        hishis subjective
27
     belief that Decedent
     belief      Decedentposed
                          posedananimminent threat
                                     imminent      in direct
                                               threat        contravention
                                                       in direct           of theofdirective
                                                                 contravention               of
                                                                                     the directive of
28
               Rutherford, 272 F.3d
     Deorle vvRutherford,
     Deorle                         1272-1281(9th
                               F.3d 1272-1281       Cir.2001).
                                              (9th Cir.  2001).


                                                8
             PLAINTIFFS’ COMBINED
             PLAINTIFFS'          BRIEF RE
                         COMBINED BRIEF    SUMMARY JUDGMENT
                                        RE SUMMARY JUDGMENT MOT1ONS-5:18-CV-04826
                                                            MOTIONS-5:18-CV-04826 BLM
                                                                                  BLM
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 I
 1           What should  havetranspired
                  should have   transpiredononthat
                                                that  fateful
                                                   fateful dayday  is that
                                                               is that     defendant
                                                                        defendant PinaPina should
                                                                                       should havehave
2           his way
     worked his wayto
                    to the
                        therear      DetectiveFerguson's
                            rearofofDetective  Ferguson’svehicle
                                                           vehicle and
                                                                 and    ultimately
                                                                     ultimately    moved
                                                                                moved    to position
                                                                                      to position

3       Detective Lopez's
     to Detective  Lopez’svehicle
                           vehiclewhere
                                   wherehehe could
                                           could   have
                                                 have    cover
                                                      cover - the the vehicle
                                                                  vehicle
                                                                        - was was boxed
                                                                              boxed       in at that
                                                                                    in at that
4    time; the
           the K-9
               K-9 was approachingthe
                   wasapproaching   thescene
                                         sceneand
                                                and
                                                  in in
                                                     thethe event
                                                          event thatthat
                                                                      thethe      fled,fled,
                                                                             suspect
                                                                          suspect        theythey would
                                                                                              would
55   have the capability
              capabilityofofthe
                             theK-9
                                 K-9totoeither
                                         eitherconduct
                                                conduct  a systematic
                                                       a systematic   search
                                                                    search    or direct
                                                                           or direct    deployment
                                                                                     deployment of of
6    K-9.   (CrowleySupp.
            (Crowley Supp.Dec.,       12, DeFoe
                           Dec., Exh. 12, DeFoeDepo.,
                                                Depo.,pg.  12,I. 24
                                                       pg.12,    I. 24  through
                                                                     through      13, 13,
                                                                              pg.pg.  I. 13; pg. pg.
                                                                                          I. 13;
7    14,
     14, I.I. 1-7.)
               1-7.)And thisthis
                      And    is the
                                  is crux
                                     the of theof
                                          crux  unreasonableness of the totality
                                                  the unreasonableness    of theoftotality
                                                                                   defendants'
                                                                                           of defendants’
8    actions: no
               noproperly
                  properlytrained  officer,
                             trained        if they
                                       officer,      truly truly
                                                 if they   believed  the suspect
                                                                 believed        had a gun,
                                                                           the suspect  had would
                                                                                             a gun, would

9    voluntarily put
     voluntarily      themselvesininsuch
                  putthemselves      sucha position
                                           a position  of vulnerability
                                                    of vulnerability andand exposure.
                                                                         exposure.     A suspect
                                                                                   A suspect who who
10
10   truly had
           had aagun
                  guncould
                      couldshoot defendant
                             shoot         PinaPina
                                   defendant    as he
                                                    asstood in theinopen,
                                                       he stood           mere feet
                                                                     the open,  merefrom
                                                                                       feetthefrom the
11
11   Decedent. Standard police
                 Standard police tactics
                               tactics   mandate
                                       mandate thatthat
                                                     Pina    should
                                                          should
                                                        Pina        have
                                                                 have    sought
                                                                      sought    cover
                                                                             cover    behind
                                                                                   behind the the
12
12   suspect's vehicle,and
     suspect’s vehicle, andfrom
                             fromthat
                                   thatposition
                                        positionof of safety,
                                                   safety,    began
                                                           began     to issue
                                                                  to issue    commands,
                                                                           commands, like like
                                                                                          dropdrop
                                                                                               the the
13
13       keys out
     car keys out the
                   the window. (CrowleySupp.
                       window. (Crowley Supp.Decl.,
                                              DecI., Exh. 12, DeFoe
                                                     Exh. 12, DeFoe Depo.,
                                                                    Depo.,pg.  37,I. I.6-9.)
                                                                           pg.37,       6-9.)

14                     Dominguezwas
             Moreover, Dominguez wasnot
                                     notactively
                                          actively non-compliant
                                                 non-compliant    before
                                                               before     being
                                                                      being shot,shot,
                                                                                  and ifand
                                                                                         theif the
15
15            is passively
     suspect is
     suspect     passively noncompliant,
                           noncompliant,the
                                         theofficer
                                             officercannot
                                                     cannotshoot
                                                            shoothim
                                                                  himabsent
                                                                      absenta aFourth
                                                                                FourthAmendment
                                                                                       Amendment
16
16               Passive
     violation. Passive   noncompliance
                        noncompliance    is not
                                      is not    a lethal
                                             a lethal    threat
                                                      threat    justifying
                                                             justifying    a response
                                                                        a response     of deadly
                                                                                   of deadly     force.
                                                                                             force.

17
17   (Crowley
     (CrowleySupp.  Deci., Exh. 12,
              Supp.Decl.,       12, DeFoe
                                    DeFoeDepo.,
                                          Depo.,pg.
                                                 pg.27,
                                                     27,I. I.9-13.) This
                                                               9-13.)    was
                                                                      This   a case
                                                                           was      of aoffelony
                                                                                a case      a felony
18
18   warrant, accessory
               accessorytotoanan
                               armed robbery
                                  armed      not the
                                         robbery  not"fleeing felon" rule
                                                        the “fleeing      thatrule
                                                                      felon”   arose from
                                                                                   that   a from a
                                                                                        arose
19
19            death or
     shooting death     graveviolent
                     orgrave  violentfelony
                                       felonyincident.
                                               incident. This
                                                       This    is not
                                                            is not    a fugitive
                                                                   a fugitive whowho used
                                                                                  used    deadly
                                                                                       deadly forceforce
20      evade or
     to evade     detercapture;
              or deter  capture;the
                                 thevehicle
                                     vehicleis isnotnot being
                                                     being    used
                                                            used as as a weapon
                                                                    a weapon andand
                                                                                 thisthis is not
                                                                                      is not     a bring
                                                                                             a bring
21
21   him in
          in "dead
              “deadororalive"
                         alive”scenario. It isIt not
                                 scenario.           the "direst"
                                                  is not          of circumstance
                                                         the “direst”              at the at
                                                                        of circumstance   time
                                                                                             theintime
                                                                                                   whichin which
22   deadly force
             force was
                   wasused.
                       used. (Crowley
                             (CrowleySupp.  Deci., Exh.
                                      Supp.Decl.,       12, DeFoe
                                                   Exh. 12, DeFoe Depo.,
                                                                  Depo.,pg.
                                                                         pg.68,       7-14,I. 22-
                                                                             68,I. I.7-14,    I. 22-
23   23.) Regardless,
           Regardless,even if Dominguez
                        even            had had
                               if Dominguez escaped from from
                                                escaped  the car oncar
                                                               the  foot,onthe officers
                                                                             foot,      still
                                                                                    the officers still

24   could not
            notlegally
                legallyshoot
                        shoothim absent
                               him      some
                                   absent    other
                                           some    aggravating
                                                 other         circumstance
                                                       aggravating          which which
                                                                    circumstance  was notwas not
25            in this
     present in   this case.
                        case.   (Crowley  Supp.Decl.,
                                (Crowley Supp.  Deci., Exh. 12,
                                                            12, DeFoe
                                                                DeFoe Depo.,
                                                                      Depo., pg.  68,I.I.13-14.)
                                                                              pg.68,      13-14.)

26                      as the
             Crucially, as  the officers  aresupposed
                                 officersare  supposedtotokeep    cover
                                                            keepcover   and
                                                                      and   distance
                                                                          distance    from
                                                                                   from  thethe suspect,
                                                                                             suspect,
27       after the
     and after the suspect
                   suspectisis"contained,"
                               “contained,”then
                                            thenthe
                                                  theofficers
                                                      officershave
                                                               havetime
                                                                     time
                                                                        onon their
                                                                           their    side.
                                                                                 side.          no no
                                                                                          However,
                                                                                       However,

28   such patience
           patiencewas
                    wasexhibited by the
                         exhibited      defendants
                                    by the         in thisincase.
                                            defendants       this Instead,
                                                                   case. defendant   Pina
                                                                           Instead, defendant Pina


                                               9
                                               9
            PLAINTIFFS’ COMBINED
            PLAINTIFFS'          BRIEF RE
                        COMBINED BRIEF    SUMMARY JUDGMENT
                                       RE SUMMARY JUDGMENT MOTIONS-5:18-CV-04826 BLM
                                                           MOTIONS-5:18-CV-04826 BLM
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I    placed himself
            himselfininananopen air air
                             open   (no(no
                                        cover) standing
                                           cover)       position,
                                                   standing   position,                  to the to the
                                                                             feet perpendicular
                                                                  10 feet10perpendicular
22   suspect (no distance, in
                            in aa very exposed vulnerable
                                  very exposed            anddangerous
                                               vulnerableand            position). (Crowley
                                                              dangerousposition).           Supp.
                                                                                   (Crowley Supp.

33          Pina Depo., pg.
     Decl., Pina
     DecI.,             pg. 75,
                            75, I.I. 19
                                      19 through
                                          throughpg.
                                                  pg.76,
                                                      76,I. I.1.)
                                                               I.)If Pina     moved
                                                                           moved
                                                                      If Pina       behind
                                                                                 behind    Lopez’s
                                                                                        Lopez's     vehicle
                                                                                                vehicle

44   where all
           all three
                threeofficers
                      officerswere
                               werebehind thethe
                                     behind   suspect, and and
                                                 suspect,       thereafter
                                                           thereafter      the suspect
                                                                      the suspect       displayed
                                                                                  displayed a     a

55   gun, the suspect
              suspect would
                      wouldhave       turntowards
                            havetototurn    towardsthe    officers
                                                     theofficers   while
                                                                 while    in the
                                                                       in the driver's seatseat
                                                                                 driver’s   andand   try to
                                                                                                try to

66   shoot them. (CrowleySupp.
     shootthem.                  Deci., Exh.
                 (Crowley Supp. Decl.,       12, DeFoe Depo., pg.
                                        Exh. 12,                  77,1.
                                                              pg. 77, I. 1-20.) There would
                                                                         1-20.) There       have
                                                                                      wouldhave

77   been three AR-15
                AR-I 5 assault
                       assault rifles              him,any
                                       pointedatathim,
                                riflespointed               lethalthreat
                                                        anylethal         wouldhave
                                                                   threatwould             eliminated.
                                                                                     beeneliminated.
                                                                                havebeen

88   The evidence
         evidenceisisclear
                      clearthat
                             thatdefendant Pina
                                   defendant    voluntarily
                                              Pina              put himself
                                                            put himself
                                                   voluntarily               in a vulnerable
                                                                        in a vulnerable        position;
                                                                                        position;

99   officers should
              should not
                      notchoose
                          choosetotoput
                                     putthemselves in in
                                          themselves  a bad position
                                                         a bad       andand
                                                               position     have
                                                                         have     to respond
                                                                              to respond      to that
                                                                                         to that

10
10   bad position;
         position; he
                    hechose
                       chosetotoplace
                                  placehimself in a
                                         himself      a vulnerable
                                                  in vulnerable position andand
                                                                   position       failed
                                                                             failed      to follow
                                                                                    to follow      proper
                                                                                              proper

II
11   police protocol
            protocol and
                     and tactics.  (Cr0wleySupp.
                          tactics. (Crowley       Dect, Exh. 12,
                                            Supp.Decl.,                Depo.,pg.
                                                                 DeFoe Depo.,
                                                             12, DeFoe        pg.73,  I. 11-21.)
                                                                                  73,1.11-21.)

12
12           1.
             1.   Dominguez' passive
                  Dominguez’         non-compliance
                               passive              is not a valid
                                         non-compliance            reason
                                                              is not               him. to kill him.
                                                                          to killreason
                                                                      a valid

13
13           Police practices
                    practices expert
                              expertwitness,
                                     witness,Scott
                                              ScottDeFoe,  opinedthat
                                                    DeFoe,opined      anan
                                                                   that    officer
                                                                         officer   cannot
                                                                                 cannot    arbitrarily
                                                                                        arbitrarily

14   shoot aa suspect
              suspectbecause
                      becausethe
                               thesuspect was
                                    suspect   passively
                                            was           non-complaint. (Crowley
                                                        non-complaint.
                                                passively                               Deci.,
                                                                                  Supp.Decl.,
                                                                         (CrowleySupp.

15
15   Exh. 12,
          12, DeFoe
              DeFoeDepo.,
                    Depo.,pg.
                           pg.47,
                               47,I. I.13-14.)
                                        13-14.)AndAnd
                                                   while the putative
                                                       while              response
                                                                      response
                                                             the putative           by Dominguez,
                                                                               by Dominguez,

16
16   "Fuck
     “Fuck you,
           you, shoot
                 shootme,
                       me,bitch,"
                           bitch,”isisunkind,
                                       unkind,it raises     a greater
                                                         a greater
                                                  it raises           standard
                                                                   standard     of care
                                                                            of care for the  the officer
                                                                                         for officer to to
17   even be
           bemore
              morecautious to avoid
                    cautious        beingbeing
                              to avoid    trapped into reacting
                                               trapped          improperly
                                                         into reacting     or provoke
                                                                       improperly      provoke an
                                                                                   or an

18
18   improper
     improper and
              and unreasonable   response. (Crowley
                   unreasonableresponse.   (CrowleySupp.
                                                    Supp.Decl.,       12, DeFoe
                                                          Deci., Exh. 12,       Depo.,pg.
                                                                          DeFoeDepo.,  pg.

19
19   49, I. 11-20.)
     49,1.11-20.)
20           Here, the
                    the evidence
                         evidencedemonstrates
                                  demonstratesthere was
                                                there   no no
                                                      was      lethal
                                                           lethal     threat.
                                                                  threat.     Defendant
                                                                          Defendant      couldcould
                                                                                    Pina Pina

21
21   see there
         there was
               was nothing
                    nothingininDominguez's  hands,nonoweapon
                                Dominguez’shands,      weapon when
                                                             when hehe had
                                                                     had hishis
                                                                             hands up.up.
                                                                                hands     When
                                                                                       When

22   Pina fired, he
                 he said
                     said he
                           hecould
                              couldnot
                                    notsee
                                        seewhat  Doming uez’s
                                            whatDominguez's   hands
                                                            hands   were
                                                                  were   doing. (Crowley
                                                                       doing.            Supp.
                                                                                (CrcwleySupp.

23   DecI., Exh. 12,
     Decl.,       12, DeFoe
                       DeFoeDepo.,
                             Depo.,pg.pg.55,55,
                                             I. 3-7.) If what
                                                 I. 3-7.)     defendant
                                                           If what      Pina says
                                                                   defendant  Pinaissays      true, which
                                                                                     true, iswhich
24   plaintiffs
     plaintiffs vehemently
                 vehementlydispute,
                            dispute,putting down
                                      putting    your
                                              down    hands
                                                   your     is not
                                                         hands  is anot a justification
                                                                     justification          use deadly
                                                                                   to usetodeadly
25   force. Violating thethe
              Violating    commands of aofpolice
                             commands            officer
                                           a police       in this
                                                      officer     circumstance
                                                               in this circumstance       not justification
                                                                                is notisjustification to    to

26
26   use lethal
          lethalforce
                 forceand
                       andshoot Dominguez
                            shoot         in the
                                  Dominguez      head.
                                              in the   The The
                                                     head. conduct      of Dominguez
                                                                   of Dominguez
                                                               conduct                 is simply
                                                                                is simply
27
27   "passive
     “passive non-cooperation."  Doming uez
              non-cooperation.”Dominguez    could
                                         could    have
                                               have    been
                                                    been     texting
                                                         texting     his wife
                                                                 his wife saying he ishe
                                                                              saying     is being
                                                                                       being

28   arrested.
     arrested. The
               The mere
                   merefact
                        factthe  suspect’shands
                             thesuspect's        areout
                                           handsare          viewand
                                                     outofofview      underneaththe
                                                                  andunderneath       actual
                                                                                  theactual   frame
                                                                                            frame


                                                        10
                                                        10
            PLAINTIFFS'
            PLAINTIFFS’COMBINED
                        COMBINEDBRIEF
                                 BRIEFRERE
                                         SUMMARY   JUDGMENT
                                                 JUDGMENT
                                           SUMMARY        MOTIONS-5:18-CV-04826 BLM BLM
                                                            MOTIONS-5:18-CV-04826
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I1   of the door,
            door, inin itself,
                         itself,does
                                 doesnot
                                      notmean
                                          meanthethe
                                                   suspect    is arming
                                                           is arming
                                                     suspect            himself. (Crowley
                                                                     himself.    (Crowley Supp.  Deci.,
                                                                                           Supp.Decl.,

22   Exh. 12,
     Exh. 12, DeFoe
              DeFoeDepo.,
                    Depo.,pg.
                           pg.59,59,I. 13-15; pg.pg.
                                       I. 13-15;  67, 67,
                                                      I. 20-22.) At theAt
                                                           I. 20-22.)   time
                                                                           thePina
                                                                               timefired       two the two
                                                                                      Pinathefired

33   rounds from his
                 his rifle,
                     rifle, itit was
                                 was not
                                     not an
                                         an immediate  defenseofoflife
                                             immediatedefense              situation. (Crowley
                                                                     lifesituation.            Supp.Decl.,
                                                                                      (Crowley Supp. Deci.,

4    Exh. 12, DeFoe
     Exh.     DeFoe Depo.,
                    Depo., pg.
                            pg. 67,
                                 67,I.I.24-25.)
                                         24-25.)

55           The right
                   rightto to
                           be free
                               be from
                                   free the application
                                         from           of deadly force
                                               the application          for engaging
                                                                   of deadly   force infor engaging in

66   mere passive resistance
                   resistancewas
                             wasclearly established
                                  clearly           prior prior
                                           established          to 2008. See Nelson
                                                          to 2008.           Nelsonv. v.CityCity
                                                                                             of of
77   Davis, 685 F.3d 867,
                     867, 881
                           881 (9th
                                (9thCir.
                                     Cir.2012)
                                          2012)(cases    dating
                                                 (casesdating   back
                                                              back    to 2001
                                                                   to 2001    have
                                                                           have    established
                                                                                established that that

8    "[a] failure to
     “[a]         to fully
                      fully or
                            orimmediately
                               immediatelycomply  withananofficer's
                                           complywith       officer’s orders
                                                                    orders    neither
                                                                           neither     rises
                                                                                   rises      to the
                                                                                          to the         of of
                                                                                                  levellevel

9    active resistance
            resistance nor
                       norjustifies
                           justifiesthe
                                     theapplication         non-trivial
                                         applicationofofa anon-trivial  amount
                                                                       amount of of force”).
                                                                                 force").       Deorle, for
                                                                                          In In Deorle,

10
10   example, the
              the Court
                  Court held
                         held that
                               thatshooting     beanbagprojectile
                                    shootinga abeanbag   projectile
                                                                  at at a suicidal,
                                                                     a suicidal,     irrational
                                                                                 irrational     individual
                                                                                             individual

11
11   who was
          waswalking
              walkingdirectly towards
                        directly      an officer
                                 towards         was excessive,
                                           an officer           given that
                                                      was excessive,       the crime
                                                                        given   that he
                                                                                     the crime he

12
12   committed was
               wasminor,
                   minor,thethe
                              danger to the
                                danger   to officer and others
                                            the officer        was minimal,
                                                         and others         there was
                                                                    was minimal,      no was no
                                                                                   there

13
13   immediate need
               need to
                     to subdue
                         subduehim,
                                him,and
                                     andhehewas
                                             wasnotnot
                                                    given  anyany
                                                       given   warning thatthat
                                                                  warning       he would
                                                                            he would be shot if if
                                                                                         be shot

14
14   he continued
        continued to
                   toapproach
                      approachthe    officer. Deorle, 272 F.3d
                                theofficer.               F.3d at
                                                                at1282.   Courts
                                                                   1282.Courts have alsoalso
                                                                                 have        denied
                                                                                         denied
15
15   qualified immunity,
                immunity,concluding thatthat
                           concluding    every police
                                             every    officer
                                                    police    shouldshould
                                                           officer    have known
                                                                            have that
                                                                                 knownit was
                                                                                          that it was

16
16   objectively
     objectively unreasonable
                  unreasonableto use such such
                                 to use   force under
                                                force those
                                                       undercircumstances.
                                                               those circumstances.              See Id.Id. at
17   1285. InIn Headwaters
                HeadwatersForest  Def.v. v.County
                           ForestDef.       County   of Humboldt, 276 F.3d
                                                  of Humboldt,             1125 (9th
                                                                      F.3d 1125       Cir. 2002),
                                                                                 (9th Cir.        the
                                                                                           2002),the

18   Court considered
           considered the
                       the use
                           use of pepperspray
                               ofpepper  spraytotosubdue,  remove,ororarrest
                                                   subdue,remove,             nonviolent
                                                                       arrestnonviolent   protesters
                                                                                        protesters

19   and held
         held that
               that "[t]he
                     “[t]helaw
                            lawregarding
                                regardinga apolice
                                             policeofficer's use
                                                     officer’s      of force
                                                                 of force
                                                               use           against
                                                                          against    a passive
                                                                                  a passive     individual
                                                                                            individual

20   was sufficiently
         sufficientlyclear"
                      clear”inin1997
                                 1997totoput
                                          putofficers              thatsuch
                                                           noticethat
                                              officersononnotice               force
                                                                         suchforce   was
                                                                                   was excessive.   Id. at
                                                                                         excessive. Id.

21
21   1131.

22           Moreover, defendant
                        defendantPina
                                  Pinahas experienced
                                        has           situations
                                            experienced          in thein past
                                                          situations       the wherein he hashe has
                                                                               past wherein

23   been confronted
          confronted with
                     withpassive
                          passivenoncompliance.  (CrowleySupp.
                                  noncompliance. (Crowley        DecI., Exh. 12,
                                                          Supp. Decl.,       12, DeFoe Depo,
                                                                                 DeFoe Depo,

24   p.
     p. 27,1.
        27, I. 4-13.) Passive
                       Passiveresistance   occurs
                                         occurs
                                resistance         frequently
                                                frequently    in police
                                                           in police    work,
                                                                     work, andand accordingly,
                                                                                accordingly,     officers
                                                                                             officers

25   are trained
         trained on
                 on how
                     howtotodeal
                             dealwith
                                  withpassive
                                       passivenoncompliance.       It’s anot
                                                             It's not
                                                noncompliance.               a legitimate
                                                                          legitimate justification to to
                                                                                           justification

26   use deadly  force. Id. As such,
          deadlyforce.          such,plaintiffs'
                                      plaintiffs’evidence demonstrates
                                                   evidence            that that
                                                            demonstrates     defendants used used
                                                                                 defendants

27
27   excessive
     excessive force
                forceininkilling  Dominguez
                            killing         on September
                                    Dominguez            15, 2017.
                                               on September        See generally
                                                              15, 2017.                Harrisv.v.
                                                                         See generally Harris

28
28   Roderick, 126 F.3d
     Roderick,     F.3d 1189
                        1189 (9th
                              (9th Cir.
                                   Cir.1997).
                                        1997).Long    standing
                                                   standing
                                                Long        principles      of jurisprudence
                                                                       of jurisprudence
                                                                principles                    dictate
                                                                                         dictate


                                                        11
                                                        11
             PLAINTIFFS'
             PLAINTIFFS’ COMBINED BRIEF RE SUMMARY JUDGMENT MOTIONS-5:18-CV-04826 BLM
          Case 5:18-cv-04826-BLF Document 62 Filed 04/01/22 Page 12 of 29


I
1    that force
           forceis excessive whenwhen
                   is excessive   it is greater than is reasonably
                                         it is greater             necessary under
                                                         than is reasonably        the under the
                                                                              necessary

2    circumstances,
     circumstances, and
                    and the
                         theevidence
                             evidenceshows  farless
                                      showsfar   lessthan  deadlyforce
                                                      thandeadly   forcewas
                                                                         wasappropriate.  Graham
                                                                             appropriate. Graham

3                  u.s. 386,
       Connor, 490 U.S.
     vvConnor,                395(1989).
                        386, 395  (1989).

4            Accordingly,
             Accordingly, it itcannot seriously
                                 cannot         be disputed
                                        seriously           that these
                                                   be disputed         circumstances
                                                                  that these         constitute
                                                                             circumstances   constitute

5
5    excessive
     excessive force
                forceas
                      asa amatter
                            mafferof of
                                     law. There
                                        law.    waswas
                                             There  no need to resort
                                                       no need        to deadly
                                                                 to resort      force,force,
                                                                           to deadly   and the
                                                                                             and the

6    Court must
           must "balance
                 “balancethe
                           theamount
                               amountofof force
                                       force  applied against
                                                applied       thethe
                                                        against      need
                                                                  need     for that
                                                                       for that     force.”- Bryan
                                                                                force.       Bryanv.v.

7
7    McPherson,               823-24(9th
     McPherson, 630 F.3d 805, 823-24      Cir. 2010)
                                     (9th Cir.                Meredithv.v. Erath,
                                                     (quoting Meredith
                                               2010)(quoting                Erath, 342 F.3d 1057,
                                                                                            1057,

8    1061
     1061 (9th
           (9thCir.
                Cir.2003)). "[T]he
                      2003)).      most most
                                 “[T]he important single element"
                                             important            is "whether
                                                         single element”      the suspect
                                                                          is “whether  the suspect

9                         threat to the safety
                immediatethreat
             an immediate
     pose[d] an                         safetyofofthe  officersororothers."
                                                   theofficers               Chew v.v. Gates,
                                                                    others.” Chew      Gates, 27 F.3d
                                                                                                 F.3d

10
10   1432, 1441
           1441 (9th
                 (9th Cir.
                      Cir. 1994)
                            1994)(emphasis
                                  (emphasisadded).
                                            added).Yet
                                                    Yet"a “a
                                                           simple statement
                                                             simple         by by
                                                                     statement an an  officer
                                                                                  officer      he he
                                                                                          thatthat

11
11   fears for
            for his
                his safety,
                     safety,ororthe
                                 thesafety
                                     safetyofofothers is is
                                                 others  notnot
                                                             enough; there
                                                                enough;    must
                                                                        there      be objective
                                                                                be objective
                                                                              must           factors to to
                                                                                                 factors

12
12   justify such
     justify such aaconcern."  Deorle, 272 F.3d
                     concern.” Deorle,     F.3d at
                                                at 1281.
                                                    1281."A
                                                          “Adesire
                                                             desiretotoresolve quickly
                                                                         resolve quickly a potentially
                                                                                       a potentially

13
13   dangerous
     dangerous situation"
               situation”does
                          doesnot
                               notjustify  deadlyforce.
                                   justifydeadly                 1281.
                                                   force. Id. at 1281.

14
14           Defendant Pina
             Defendant Pinasimply
                            simplycould
                                   couldnotnot
                                            have possessed
                                               have        an objectively
                                                    possessed             reasonable
                                                              an objectively         belief belief
                                                                              reasonable

15
15   that Dominguez
          Dominguezposed
                    posedaasignificant,
                             significant,immediate threat
                                           immediate      of death
                                                      threat       or serious
                                                             of death             physical
                                                                              physical
                                                                       or serious           to to
                                                                                       harmharm

16
16   him when
         when he
               hefired
                    firedthethe
                              fatal shot.
                                 fatal            Tennesseev. v.
                                       shot. See Tennessee       Garner, 471
                                                              Garner,        u.s. 1,1,11-12
                                                                         471 U.S.      11-12(1985);
                                                                                              (1985);

17
17   Graham, 490 U.S.
     Graham,     U.5. atat396-97;  Harris, 126 F.3d
                           396-97; Harris,     F.3d atat1201,
                                                          1201,1204 (holding
                                                                 1204        it was
                                                                       (holding     "patently
                                                                                 it was  “patently

18
18   unreasonable" for
     unreasonable”  forofficer
                         officerto to
                                   shoot without
                                      shoot      warning
                                             without           armed murder suspect
                                                         an an armed
                                                     warning                 suspectwho
                                                                                     whowas
                                                                                          was

19
19   retreating to   safety); Cumow
                 to safety);         v. Ridgecrest
                              Curnow v.             Police, 952 F.2d
                                        Ridgecrest Police,      F.2d 321,
                                                                      321,324-25
                                                                           324-25(9th Cir.Cir.
                                                                                   (9th    1991)
                                                                                               1991)

20   (holding itit was
                   was unreasonable
                        unreasonabletotoshoot
                                         shootsuspect
                                               suspectwho
                                                       whopossessed   a gun
                                                                    a gun
                                                            possessed     butbut
                                                                              waswas
                                                                                  notnot
                                                                                      pointing it it
                                                                                         pointing

21
21               and was
     at officers and was facing              v. United
                                 away); Ting v.
                          facingaway);                 States, 927 F.2d 1504,
                                                UnitedStates,                 1511(9th
                                                                        1504, 1511            1991)
                                                                                         Cir.1991)
                                                                                   (9th Cir.

22   (unreasonable
     (unreasonable totoshoot
                        shootwounded
                              woundedfelon who
                                       felon   waswas
                                             who   merely lyinglying
                                                      merely     on floor whenwhen
                                                                      on floor shot).shot).
                                                                                      Here, Here,

23   defendant
     defendant Pina
                Pinaalso
                     alsodid
                           didnotnot
                                  utilize reasonable
                                     utilize         alternative
                                             reasonable          methods
                                                         alternative          of arresting
                                                                         of arresting
                                                                     methods               Decedent
                                                                                      Decedent

24   such as
           asgiving
               givingcommands, deploying
                       commands,         his taser,
                                  deploying         taking appropriate
                                               his taser,              cover, waiting
                                                           taking appropriate   cover,forwaiting for

25   additional backup
                backup totoarrive
                            arriveororreleasing   theK-9
                                       releasingthe         (which
                                                       K-9(which   was
                                                                 was   done,
                                                                     done, butbut only
                                                                               only    after
                                                                                    after    Dominguez
                                                                                          Dominguez

26       shot).
     was shot).    Smith               Hemet, 394 F.3d
                              CityofofHemet,
                   Smith v.v. City                F.3d 689,
                                                       689, 701
                                                             701 (2005)      banc).
                                                                  (2005) (en banc).

27   /
     I-

28   /
     II


                                                12
                                                12
             PLAINTIFFS' COMBINED BRIEF
             PLAINTIFFS’ COMBINED       RE SUMMARY JUDGMENT
                                  BRIEF RE                  MOTIONS-5:18-CV-04826 BLM
                                                   JUDGMENT MOTIONS-5:18-CV-04826 BLM
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11         Defendants' Qualified
        C. Defendants’
        C.              QualifiedImmunity Defense
                                   Immunity Defense   Fails
                                                  Fails

22          Contrary to
                     to defendants'
                        defendants’contention,   defendant
                                    contention,defendant    Pina
                                                         Pina    should
                                                              should not not be granted
                                                                         be granted     qualified
                                                                                    qualified

33   immunity by
              by this
                  thisCourt,
                       Court,and
                               andit should  not not
                                      it should  serve as aas
                                                     serve basis      which which
                                                                 upon upon
                                                              a basis       this Court   Court grants
                                                                                   this grants

44   summary judgment
              judgmentinindefendants' favor.
                            defendants’      The doctrine
                                         favor.           of qualified
                                                 The doctrine                 immunity
                                                                       immunity
                                                                of qualified    protects protects
                                                                                         a        a

55   government official
     government  officialfrom liability
                           from         for civil
                                 liability        damages
                                            for civil     exceptexcept
                                                      damages    where where
                                                                       the official  official aviolates a
                                                                                theviolates

66   constitutional right
                     rightthat " 'was
                           that”  ‘was"clearly
                                        “clearlyestablished"
                                                  established”  thethe
                                                             at at     time
                                                                    time     of the
                                                                         of the     challenged
                                                                                 challenged    conduct.’”
                                                                                            conduct.' "

77                     u.s. 744,
             Moss, 572 U.S.
     Wood v. Moss,           744, 758
                                   758(2014)            Ashcroftv.v.al-Kidd,
                                        (2014) (quoting Ashcroft     aI-Kidd, 563 U.S. 731,
                                                                              563 U.S.       735
                                                                                       731, 735

88   (2011)). "A“Aplaintiff can
                    plaintiff   demonstrate
                              can           thatthat
                                  demonstrate     thethe     waswas
                                                      rightright     clearly
                                                                 clearly     established
                                                                         established     by presenting
                                                                                     by presenting a   a

99   closely analogous
             analogouscase
                       casethat
                             thatestablishes
                                  establishesthat thethe
                                               that      defendant’s
                                                      defendant's conduct waswas
                                                                     conduct     unconstitutional
                                                                             unconstitutional

10
10   or by
        by presenting
            presentingevidence
                       evidencethat thethe
                                 that   Defendants' conduct
                                           Defendants’      was so
                                                        conduct was  so patently
                                                                   patently violative of the of the
                                                                                    violative

11
11   constitutional right
     constitutional   rightthat
                             thatreasonable officials
                                   reasonable         would
                                                officials   knowknow
                                                          would       without
                                                                 without      guidance
                                                                         guidance        court."a court.”
                                                                                  from afrom
12
12                  Smith, 653 F.3d
     Schneyder v.v.Smith,
     Schneyder                  F.3d313,
                                     313,330330
                                             (3d (3d
                                                 Cir. 2011)               l quotations
                                                            (internal quotations
                                                      Cir. 2011)(interna         omitted).omitted).
13
13   However, there
              there need
                     neednot
                          notbe    caseononpoint.
                              beaacase      point. Hope v. Pelzer, 536 U.S.
                                                        v. Pelzer,     U.S. 730,       (2002)(in
                                                                                  731 (2002)
                                                                            730, 731           (in

14
14   Eighth Amendment
            Amendmentcase,
                      case,reversing    district
                             reversingdistrict   court’s
                                               court's   entry
                                                       entry    of summary
                                                             of summary    judgment
                                                                        judgment     on qualified
                                                                                 on qualified

15
15   immunity grounds,
               grounds,explaining, "officials
                         explaining,          can be
                                        “officials canon be
                                                         notice
                                                             on that theirthat
                                                                 notice    conduct
                                                                               theirviolates
                                                                                      conduct violates

16
16   established
     established law
                  laweven
                      evenininnovel   factualsituations").
                               novelfactual    situations”).

17
17          As discussed
                discussedininplaintiffs' Motion,
                               plaintiffs’       this this
                                           Motion,     Court's qualified
                                                           Court’s             immunity
                                                                         immunity
                                                                     qualified             has twohas two
                                                                                  inquiry inquiry
18   prongs: (1)
             (1) whether
                 whetherthe
                         theofficer's
                             officer’sconduct
                                       conductviolated      constitutional
                                                violateda aconstitutional    right;
                                                                          right;    and,
                                                                                 and, (2)(2)
                                                                                          whether "the“the
                                                                                             whether

19                              establishedatatthe
                        clearly established
     right at issue was clearly                     timeofofthe
                                                thetime      theincident  suchthat
                                                                 incidentsuch                    officer
                                                                                      reasonableofficer
                                                                               thataareasonable

20   would have
            haveunderstood
                 understoodherher
                               conduct to betounlawful
                                  conduct              in the in
                                               be unlawful    situation."
                                                                 the situation.”                    Cityofof
                                                                                       Torres v.v. City
21
21   Madera, 648 F.3d
                 F.3d 1119,
                       1119,1123
                             1123(9th
                                  (9thCir.  2011)
                                       Cir.2011) (quoting   Saucier v.v. Katz,
                                                   (quoting Saucier                U.S. 194,
                                                                         Katz, 533 U.S.        201-
                                                                                         194, 201-

22
22   02 (2001)).
         (2001 )).TheThe
                      Court has discretion
                         Court             to consider
                                has discretion         the twothe
                                                 to consider       two infactors
                                                               factors            in either order. See
                                                                          either order.
23   Pearson
     Pearson v.v. Callahan,
                  Callahan, 555 U.S.
                                U.5. 223,  236(2009).
                                     223, 236  (2009).
24          At
            At summary
               summaryjudgment,  resolutionofofthe
                       judgment,resolution                      immunity
                                                     qualifiedimmunity
                                                 thequalified            defense
                                                                       defense    turns
                                                                               turns whether thethe
                                                                                        whether

25
25   undisputed
     undisputed facts
                 factsand thethe
                        and   inferences to betodrawn
                                  inferences          therefrom,
                                                  be drawn       viewed in
                                                             therefrom,                 the light most
                                                                           the lightin most
                                                                         viewed

26
26   favorable
     favorable totothethe
                       non-moving party,party,
                          non-moving     show ashow
                                                violation
                                                       a of  clearly established
                                                          violation               established federal
                                                                      of clearly federal

27
27   constitutional
     constitutional rights.
                      rights. See
                              See To/an      Cotton, 572
                                   Tolanv.v.Cotton,  572 U.S.
                                                         U.S.650,
                                                              650,657   (2014).
                                                                   657(2014).      In cases
                                                                              In cases        aIIeging
                                                                                        alleging
28
28   unreasonable
     unreasonablesearches
                  searchesororseizures, courts
                                seizures,      should
                                          courts          define
                                                      define
                                                 should          the “clearly
                                                             the "clearly     established”
                                                                          established"       right at
                                                                                       right at


                                                13
                                               13
            PLAINTIFFS'
            PLAINTIFFS’COMBINED  BRIEF
                        COMBINEDBRIEF RERE SUMMARY
                                         SUMMARY   JUDGMENT
                                                 JUDGMENT MOTIONS-5:18-CV-04826 BLM BLM
                                                            MOTIONS-5:18-CV-04826
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11    issue on
     issue  on the
               the basis of the "specific contextof
                                “specific context        case.” Saucier,
                                                     thecase."
                                                  ofthe                         at 201.
                                                                Saucier, supra, at       Accordingly,
                                                                                   201. Accordingly,

22   courts must
     courts must take
                  takecare
                       carenot
                            nottotodefine a case's
                                     define           “context”
                                                   "context"
                                            a case’s                a manner
                                                             in ainmanner      that imports
                                                                          that imports      genuinely
                                                                                       genuinely

33   disputed factual
     disputed  factualpropositions.
                       propositions.     See               Hagan, 534
                                             Brosseau v.v.Hagan,
                                         See Brosseau                 u.s. 194,
                                                                  534 U.S.  194,195,   198
                                                                                 195,198   (2004)
                                                                                         (2004)

44   (inquiring as
                as totowhether
                        whetherconduct violated
                                 conduct        clearly
                                          violated      established
                                                    clearly               law
                                                                    law "in
                                                            established        “inoflight
                                                                            light         of the specific
                                                                                     the specific

55   context of
     context, of the  case”- and construing
                  thecase         construing"facts...                  most
                                                                 lightmost
                                              “facts...inina alight           favorable
                                                                           favorable     the the
                                                                                     to" to”     nonmovant).
                                                                                             nonmovant).

66   The question of
                  of whether
                     whetheraadefendant      entitledtotoqualified
                               defendantisisentitled                               a question
                                                                            is ais question
                                                                     immunity
                                                          qualifiedimmunity                 of law  for for
                                                                                                of law

77   the court.           548 F.3d
                  Torres, 548
                  Torres,     F.3d at 1210. However,   the
                                             However,the   court
                                                         court   only
                                                               only resolves thatthat
                                                                      resolves        question
                                                                                   question     of law
                                                                                            of law

88   if all material
            material facts
                      factsare
                            areundisputed
                                undisputedand,          thethe
                                                     in in
                                                 taken
                                           and,taken            light
                                                             light    most
                                                                   most    favorable
                                                                        favorable     to plaintiff,
                                                                                  to the            the the
                                                                                         the plaintiff,

99   facts show
           show the
                 the defendant
                     defendantdid
                               didnot
                                   notviolate    clearly
                                        violateclearly   established
                                                       established   federal
                                                                   federal   constitutiona
                                                                           constitutional    l rights. Id.
                                                                                          rights.      Id.

10
10          With respect
                 respect to
                          to seizure,
                              seizure,the                           that"it“itwas
                                                        determined that
                                       the Nelson Court determined                 clearlyestablished
                                                                               wasclearly  established

11
11   prior to April
              April 2004,
                     2004,that
                           thatthe
                                 theintentional
                                      intentionalapplication    of force
                                                             of force
                                                   application           which
                                                                      which    terminates
                                                                            terminates     an individual’s
                                                                                       an individual's
12
12   freedom of
             ofmovement
                movementresults                          v. City
                                        seizure.” Nelson v.
                         resultsinina aseizure."                    Davis, 685 F.3d
                                                                 ofDavis,
                                                            City of                       884. In In
                                                                                    867, 884.
                                                                               F.3d 867,

13
13   Nelson, the officers
                 officers unreasonably
                          unreasonablyused               projectiles,
                                            pepper-ballprojectiles,
                                       usedpepper-ball              a less-than-lethal        of of
                                                                                       al method
                                                                       a less-than-lethmethod

14   force, on
            on aa group
                   groupofofpeople,
                             people,ofofwhich
                                         whichNelson
                                               Nelson  was
                                                     was    a part,
                                                         a part,     in order
                                                                 in order     to seize
                                                                          to seize     the entire
                                                                                   the entire     group.
                                                                                              group.
15
15   The Nelson Court determined
                      determined that  althoughthe
                                  thatalthough      useofofpepper-ball
                                                theuse                   projectiles
                                                            pepper-ballprojectiles represented a a
                                                                                     represented

16
16   relatively
     relatively new
                 newmechanism
                     mechanismbybywhich
                                   whichto to
                                            inflict    pain,
                                                    pain,
                                               inflict        typetype
                                                          thethe        of pain
                                                                    of pain it inflicts          the same
                                                                                        is theissame
                                                                                  it inflicts         or  or

17   greater
     greater than
              thanthat
                   thatofofother well-seasoned
                             other              d and
                                   well-seasoneand       litigated
                                                   litigated       mechanisms
                                                              mechanisms         of inflicting
                                                                          of inflicting         pain (i.e.,
                                                                                        pain (i.e.,
18   projectile
     projectile weapon
                weaponwith
                       withconcussive
                            concussiveforce) andand
                                        force)    waswas  a clearly
                                                      a clearly     established
                                                                established violation.      id. It is
                                                                                 violation. Id.     is

19   axiomatic
     axiomatic that
                thatdefendant
                     defendantPina bebe
                                Pina  denied qualified
                                        denied            immunity
                                                       immunity
                                               qualified        by his his employment
                                                                    byemployment       of a well-
                                                                                 of a well-
20   tested mechanism
            mechanismofofpain
                          pain(i.e.,
                                 (i.e.,a firearm andand
                                         a firearm   bullets) andand
                                                        bullets)  deadly forceforce
                                                                     deadly          to seize
                                                                                to seize      Decedent.
                                                                                         Decedent.

21
21   The
     The egregious
          egregiousnature of defendants'
                     nature              conduct
                             of defendants’            in shooting
                                                 in shooting
                                             conduct               Dominguez
                                                             Dominguez          is more brightly
                                                                       is more brightly
22   exhibited
     exhibited when
               when juxtaposed
                     juxtaposedwith
                               withthe  factthat
                                    thefact       theVCT
                                             thatthe               hadsuccessfully,
                                                          maneuverhad
                                                      VCTmaneuver      successfully,and   safely,
                                                                                     andsafely,

23
23   contained
     contained Dominguez.
                Dominguez.
24
24           Moving
             Moving to
                     to the
                         thesecond
                             secondprong
                                    prongofofthe    qualified
                                               thequalified   immunity
                                                            immunity analysis, thethe
                                                                       analysis,      Court
                                                                                   Court      is required
                                                                                         is required

25
25   to
      to decide
         decide whether
                whetherititwould
                           wouldhave  beenclear
                                 havebeen              reasonableofficer
                                           cleartotoaareasonable               thedefendant's
                                                                  officerininthe   defendant’s  position
                                                                                              position

26
26   that
      that his
            hisuse
                useofofdeadly
                        deadlyforce was
                                force   unlawful
                                      was            in the
                                                 in the
                                          unlawful           situation
                                                         situation     presented.
                                                                   presented.     The issue
                                                                              The issue      of qualified
                                                                                        of qualified
27
27   immunity
      immunityisisaaquestion
                     questionofof
                               lawlaw
                                    forfor
                                        thethe
                                            court.    Torres, 548
                                               court. Torres,      F.3datat1210.
                                                              548 F.3d            However,
                                                                            1210.However, thethe court
                                                                                              court
28
28   only
     only resolves
           resolvesthat
                    thatquestion
                         questionofof
                                    law if all
                                      law      material
                                           if all       facts
                                                  material    areare
                                                           facts  undisputed and,and,
                                                                     undisputed       taken
                                                                                  taken           the light
                                                                                        in theinlight


                                                       14
                                                       14
            PLAINTIFFS'
            PLAINTIFFS’ COMBINED
                        COMBINED BRIEF RE SUMMARY
                                 BRIEF RE                  MOTIONS-5:18-CV-04826 BLM
                                                  JUDGMENT MOTIONS-5:18-CV-04826
                                          SUMMARY JUDGMENT                       BLM
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I
1    most favorable
          favorable to the plaintiff,
                    to the plaintiff, the
                                       the facts  showthe
                                            facts show thedefendant didnot
                                                          defendantdid      violateclearly
                                                                        notviolate          established
                                                                                    clearlyestablished

2    federal constitutional  rights. Id. At all
             constitutionalrights.          all times  relevanttotothis
                                                times relevant      thisaction,       wasclearly
                                                                         action,it itwas   clearly established
                                                                                                 established

3    that the
          the use of deadly
              use of        forcewas
                     deadlyforce     reasonableonly
                                 wasreasonable                officer -“has
                                                onlyif ifananofficer        probable cause
                                                                        has probable cause to
                                                                                            to believe
                                                                                                believe
4    that the suspect
              suspectposes    significantthreat
                      posesaasignificant  threatofofdeath
                                                     deathoror serious
                                                             serious   physical
                                                                     physical    injury
                                                                              injury    to the
                                                                                     to the     officer
                                                                                            officer or or

5
5    others.”- Long
     others.   Long v.v. City      Cntyofof
                               andCnty
                          Cityand           Honolulu, 511
                                          Honolulu,            901, 906
                                                      511 F.3d 901,      (9th Cir.
                                                                    906 (9th  Cir. 2007)
                                                                                    2007)(quoting  Scott
                                                                                          (quoting Scott

6    v.                  at 194,
        Henrich, 39 F.3d at
     v. Henrich,                      turn quoting
                                  in turn
                            194, in        quoting Tennessee      Garner, 471
                                                   Tennessee v.v.Garner,      u.s. atat 3(1985)).
                                                                          471 U.S.                 With
                                                                                        3 (1985)).With

7    respect, the
               thesame
                   samefactual
                         factualand credibility
                                  and           questions
                                       credibility        that that
                                                   questions   preclude defendants'
                                                                    preclude        requestrequest
                                                                             defendants’     for   for

8    summary
     summary judgment
              judgmenton
                       onthe  meritsofofplaintiffs'
                          themerits                   Fourth
                                                    Fourth
                                          plaintiffs’        Amendment
                                                           Amendment     claims
                                                                     claims     preclude
                                                                             preclude      a finding
                                                                                      a finding

9    that the
          the defendant
              defendantOfficers  areentitled
                        Officersare  entitledtotoqualified   immunity
                                                           immunity
                                                   qualified        forfor
                                                                        their useuse
                                                                           their      of deadly
                                                                                  of deadly     force.
                                                                                            force.

10
10           In
             In   Blanfordv.v.Sacramento
                  Blanford     Sacramento  County, 406 F.3d
                                         County,       F.3d 1110,
                                                             1110,1115
                                                                   1115(9th Cir.Cir.
                                                                         (9th    2005), citedcited
                                                                                     2005),    by by
11
11   defendants, the
                  the Ninth
                      NinthCircuit
                            Circuitdescribed
                                    describedthe
                                              thereasonableness   standard
                                                                standard
                                                   reasonableness        asas requiring
                                                                            requiring    a balance
                                                                                      a balance

12
12   between the
              the nature
                   natureand  qualityofofthe
                          andquality       the individual’s
                                             individual's   Fourth
                                                          Fourth   Amendment
                                                                 Amendment     interests
                                                                           interests against the the
                                                                                         against

13
13   countervailing
     countervailing governmental
                     governmentalinterests at at
                                   interests  stake. TheThe
                                                 stake.  analysis          an excessive
                                                                  of anofexcessive
                                                             analysis                    force claim
                                                                                   force claim
14   further
     further "requires
              “requirescareful
                        carefulattention to to
                                 attention  thethe
                                                facts andand
                                                   facts  circumstances  of each
                                                               circumstances     particular
                                                                              of each       case, case,
                                                                                       particular

15
15   including the
                the severity
                     severityofofthe
                                  thecrime
                                      crimeatatissue,   whether
                                                 issue,whether thethe suspect
                                                                    suspect   poses
                                                                            poses an an immediate
                                                                                     immediate     threat
                                                                                               threat

16
16   to the safety
            safety of
                   of the
                       the officers
                           officersor  othersand
                                    orothers                      activelyresisting
                                                  whetherheheisisactively
                                              andwhether                    resisting arrest
                                                                                    arrest or or attempting
                                                                                              attempting

17   to evade  arrestbybyflight."
        evade arrest                          supra, at p.
                                     Graham, supra,
                            flight.” Graham,            p. 396.
                                                           396. An
                                                                 Anofficer's
                                                                    officer’suse
                                                                              useof of
                                                                                    lethal force
                                                                                       lethal    is only
                                                                                              force  is only

18
18   reasonable
     reasonable ifif "the
                      “the officer
                            officerhas
                                    hasprobable
                                        probablecause       believe
                                                 causetotobelieve   that
                                                                  that thethe suspect
                                                                           suspect    poses
                                                                                   poses    a significant
                                                                                         a significant

19   threat
     threat of
            of death
               death or
                      orserious  physicalinjury
                         seriousphysical               theofficer
                                           injurytotothe    officer
                                                                  or or others.” Garner, supra,
                                                                     others."                        u.s. atat
                                                                                          supra, 471 U.S.

20   3.
     3.
             1. Qualified
             1. QualifiedImmunity
                          Immunitydoes
                                     doesnotnot
                                             apply because
                                                apply        long-established
                                                       because                      law law
                                                                               case case
                                                                  long-established
21
21
                governs the
                          theconduct at issue
                               conduct         and clear!y
                                          at issue   and establishes that killin that killing
                                                           clearly  establishes             g
22              Dominguez
                Dominguez was   excessive
                              was           force and
                                    excessive     forceunreasonable   under the under the
                                                          and unreasonable
                circumstances.
                circumstances.
23
             "Just
             “Just as
                   as the
                       thegranting
                           grantingofofsummary judgment
                                         summary        is inappropriate
                                                  judgment               whenwhen
                                                            is inappropriate      a genuine
                                                                              a genuine issue issue
24
     exists as
            as to
               to any
                  any material
                      materialfact,
                               fact,aadecision  onqualified
                                       decisionon  qualifiedimmunity willwill
                                                              immunity     bebe premature
                                                                              premature   when
                                                                                        when    there
                                                                                             there
25
     are unresolved
         unresolved disputes     historicalfact
                    disputesofofhistorical   factrelevant
                                                   relevanttotothe   immunity
                                                                   immunity
                                                                 the        analysis."   Curleyv.v. Klem,
                                                                              analysis.” Curley      Kiem,
26
     298 F.3d
         F.3d 271,
               271,278
                    278(3d
                         (3dCir. 2002)
                              Cir.     (in (in
                                   2002)   Fourth Amendment
                                               Fourth       excessive
                                                      Amendment       force force
                                                                excessive    case, case, reversing
                                                                                   reversing
27
     district
     district court'scourt’s
                      entry of qualified
                                  entry immunity
                                            of at summary
                                                    qualified           immunity          at       summary
28
     judgment); Lamont, 637 F.3d
     judgment); Lamont,     F.3d at
                                 at 185
                                    185 ("In
                                         (“In short,
                                               short, the
                                                       thedispute      thiscase
                                                           disputeininthis  caseisisabout  thefacts,
                                                                                     aboutthe          not
                                                                                                facts,not

                                                        15
                                                        15
             PLAINTIFFS’ COMBINED
             PLAINTIFFS'          BRIEF RE
                         COMBINED BRIEF RE SUMMARY          MOTIONS-5:18-CV-04826 BLM
                                           SUMMARY JUDGMENT MOTIONS-5:18-CV-04826 BLM
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I
1    the law.
          law. The
               The doctrine
                   doctrineofofqualified
                                qualifiedimmunity
                                          immunityis istherefore inapposite.").
                                                         therefore              AkinAkin
                                                                   inapposite.”).    to the  the excessive
                                                                                          to excessive

2    force arguments
           argumentsput
                     putforth
                         forthbybydefendants, they
                                    defendants,    nownow
                                                 they  invite the the
                                                           invite Court      to prematurely
                                                                        to prematurely
                                                                      Court                 resolve
                                                                                       resolve

3    disputed material
              materialfacts
                       factsgermane       qualified
                             germanetotoqualified immunity,   something
                                                            something
                                                    immunity,         forbidden by by Curley.
                                                                          forbidden                     In
                                                                                                        In

4    this instance, summary
                    summaryjudgment     behalfofofthe
                                     onbehalf
                            judgmenton             thedefendants
                                                       defendantswould       improper
                                                                  wouldbebeimproper asas plaintiffs
                                                                                       plaintiffs

5    have demonstrated
          demonstrated the  strengthofoftheir
                        thestrength       theirevidence
                                                evidenceof of defendant
                                                           defendant    Pina’s
                                                                     Pina's    unreasonableness
                                                                            unreasonableness in in

6    shooting Decedent.
              Decedent. Thus framed,
                          Thus       defendants
                                framed,         ignore
                                        defendants     compelling
                                                   ignore         evidence
                                                          compelling       that that
                                                                      evidence       Doming uez
                                                                                 Dominguez

7        unarmed, had
     was unarmed,     his arms
                  had his armsraised  andwas
                               raisedand  wasimmobilized       theVCT
                                              immobilizedbybythe   VCTatatthe    timedeadly
                                                                            thetime   deadly  force
                                                                                            force

8    was utilized.
         utilized. With
                    Withrespect to defendants'
                           respect             motion
                                    to defendants’    for summary
                                                   motion         judgment,
                                                           for summary            the must
                                                                            the Court
                                                                       judgment,      Court must

9    resolve factual
              factualdisputes
                       disputesin plaintiffs' favor,
                                  in plaintiffs’     and defendants'
                                                  favor,             qualified
                                                         and defendants’       immunity
                                                                             qualified   defense defense
                                                                                       immunity

10
10      properly framed
     is properly               twoparts.
                  framed inin two  parts.
11
11          As for  the first
               for the         inquiry,does
                         firstinquiry,           officerviolate
                                        doesananofficer   violateclearly-established
                                                                   clearly-established Fourth
                                                                                     Fourth   Amendment
                                                                                            Amendment

12
12   law by  shootingananunarmed
          byshooting       unarmed
                                 suspect,    where
                                          where
                                    suspect,         the suspect
                                                the suspect        is boxed-in
                                                            is boxed-in by the VCT, the VCT, the
                                                                                by the
13                              andthe
                     contained,and
     situation isis contained,            suspect
                                     thesuspect   wouldn’t
                                                wouldn't    ableable
                                                         be be       to escape
                                                                 to escape fromfrom  that point?
                                                                                that point? Next, Next,
14   does an officer violateclearly-established
             officer violate                     FourthAmendment
                             clearly-establishedFourth  Amendmentlawlaw
                                                                      by by
                                                                         shooting thatthat
                                                                            shooting       suspect,
                                                                                        suspect,

15
15               suspectisisboxed
            the suspect
     while the                        thethe
                             boxedin,in,      situation
                                           situation still still contained,
                                                            contained,  whilewhile the Decedent’s
                                                                              the Decedent's      arms are
                                                                                             arms are
16
16            See Gulley v.
     raised? See         v. Elizabeth
                             ElizabethCity
                                       CityPolice   Dept., 340 Fed.
                                                  Dept.,
                                             Police            Fed. App'x.
                                                                     App’x.108
                                                                            108at at
                                                                                  110110
                                                                                      (framing
                                                                                          (framing

17   qualified immunity
                immunityinquiry
                          inquiryasas"beating   a suspect
                                              a suspect
                                       “beating         on on   faceface
                                                           the the   and and
                                                                         head,head, who
                                                                               who is lying  lying down
                                                                                          is down

18
18                               cf. Kedra
                       arrest”); cf.
     and not resisting arrest");           v. Schroeter,
                                     Kedra v. Schroeter, 876 F.3d 424,449
                                                                  424, 449(3d
                                                                           (3dCir.  2017)(reversing
                                                                               Cir.2017)  (reversing

19   dismissal in
                in due
                   due process/state-created dangercase
                       process/state-createddanger           defining
                                                         anddefining
                                                    caseand             right
                                                                     right forfor qualified
                                                                               qualified    immunity
                                                                                          immunity

20   purposes as:
               as:"an
                   “anindividual's right
                        individual’s     notnot
                                      right  to be
                                                 to subjected, defenseless,
                                                     be subjected,          to a police
                                                                    defenseless,  to a officer's
                                                                                        police officer’s

21
21   demonstration
     demonstration ofofthe
                         theuse of deadly
                              use         forceforce
                                   of deadly     in a manner contrary
                                                      in a manner     to all applicable
                                                                    contrary            safety safety
                                                                               to all applicable

22   protocols."). Finally,
     protocols.”).   Finally,thethe
                                  Third Circuit
                                    Third             GulIey warns officers
                                                in in Gulley
                                           Circuit                  officersnot
                                                                             nottotouse force
                                                                                      use     against
                                                                                           force      a a
                                                                                                 against

23   suspect "not
              “not resisting
                    resistingarrest,"
                              arrest,”even
                                       evenwhere
                                            wherethat suspect
                                                   that       previously
                                                        suspect          fledfled
                                                                 previously   andand
                                                                                  is suspected  of of
                                                                                       is suspected

24   committing serious  crimes,armed
                 seriouscrimes,         carjacking
                                 armedcarjacking   and
                                                 and kidnapping.    Gulley, 340 F.
                                                        kidnapping. Gulley,     F. App'x.  108atat
                                                                                   App’x. 108

25   110.
     110.

26           In
             In addition, even
                          even when   noveland
                               whenaanovel      unique
                                            andunique     of of
                                                      setset    facts
                                                             facts    arises,
                                                                   arises,    such
                                                                           such     as in Harris, the
                                                                                as in

27   Ninth Circuit
           Circuit has
                    hasfound
                        foundthat
                               thatqualified
                                    qualifiedimmunity   was
                                                      was
                                               immunity   not not proper
                                                              proper because the law
                                                                         because       law regarding
                                                                                  the regarding

28   the use
         use ofofdeadly
                  deadlyforce was
                          force   clearly
                                was       established
                                     clearly          and and
                                             established  well well
                                                               defined.          Harris at 1203-04
                                                                    defined. See Harris     1203-04


                                               16
                                               16
            PLAINTIFFS' COMBINED BRIEF
            PLAINTIFFS’ COMBINED       RE SUMMARY JUDGMENT
                                 BRIEF RE                  MOTIONS-5:18-CV-04826 BLM
                                                  JUDGMENT MOTIONS-5:18-CV-04826 BLM
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I    (finding that
              that no             officercould
                       reasonableofficer
                   no reasonable          couldbelieve
                                                believe    it to
                                                       it to   bebe proper
                                                                  proper to to shoot
                                                                            shoot an an armed
                                                                                     armed     individual
                                                                                           individual

2    who had
         had killed
              killedaafellow
                        fellowagent thethe
                                agent    dayday
                                             before because
                                                before      that that
                                                       because         individual
                                                                  individual was not  not immediately
                                                                                  wasimmediately

3    threatening
     threatening anyone     thetime
                 anyoneatatthe            animminent
                                 timeororan            threatofof
                                             imminentthreat       danger
                                                                danger to to others.); Deorle, 272 F.3d
                                                                           others.);               F.3d

4    at 1285-86
        1285-86 (noting
                 (notingthat
                         thatplaintiffs
                              plaintiffsneed notnot
                                          need      produce
                                                 produce    a case
                                                         a case     directly
                                                                directly     on point
                                                                         on point     to demonstrate
                                                                                  to demonstrate

5    that the right
               right isis clearly
                           clearlyestablished).           in in Forrett
                                                  Moreover,
                                   established).Moreover,               v. Richardson,
                                                                Forrett v.             112 F.3d 416
                                                                           Richardson, 112           (9th
                                                                                                416 (9th

6    Cir. 1997),
           1997), aacase
                     casedecided many
                           decided    years
                                   many     priorprior
                                         years    to this
                                                        to case, the Court
                                                            this case,     Court explicitly
                                                                       the explicitly noted the
                                                                                              noted the

7    concrete guidance
              guidance provided
                        providedby      SupremeCourt
                                    theSupreme
                                 bythe          Courttotoassess  whenananofficer
                                                          assesswhen              canuse
                                                                          officercan      deadly
                                                                                      usedeadly

8    force upon
           upon an
                 anescaping
                    escapingfelon,     “[t]he
                              felon,"[t]he    Supreme
                                            Supreme Court in in Garner identified specific
                                                      Court                       specificsituations
                                                                                           situations

9    in which
        which aa fleeing
                  fleeingfelony
                           felonysuspect may
                                   suspect   be be
                                           may  deemed to pose
                                                   deemed      a threat
                                                           to pose           of serious
                                                                        of serious
                                                                    a threat            to the to the
                                                                                   harm harm

10
10   officer or others."
     officer or          Forrett at 420 (citing
                others.” Forrett                 to Garner).
                                        (citing to

11
11          To say
               say itit another
                         anotherway,
                                 way,this
                                       thisis is
                                              notnot
                                                  a case    where
                                                         where
                                                     a case       an officer
                                                               an officer is dealing with with
                                                                              is dealing          new law
                                                                                          a newa law
12
12   enforcement
     enforcement tool
                  toolororaaquantum
                             quantumofof
                                       force whose
                                         force       parameters
                                                   parameters
                                               whose             have
                                                              have not not
                                                                       beenbeen
                                                                            well well established
                                                                                 established

13   such as      Robinson v.v. Solano
          as inin Robinson              County, 278 F.3d
                                 SolanoCounty,      F.3d 1007
                                                          1007(9th
                                                               (9thCir.
                                                                    Cir.2002),
                                                                         2002),in in
                                                                                  which thethe
                                                                                     which  Court
                                                                                               Court

14
14   found qualified
            qualifiedimmunity
                       immunityapplied because
                                 applied       the law,
                                          because  the as
                                                        law,of as
                                                               1995,
                                                                  of had
                                                                     1995,nothad
                                                                              put reasonable
                                                                                  not put reasonable

15
15   officers on
              on notice                   appropriatetotodraw
                            whenit itisisappropriate
                 noticeofofwhen                            draw their
                                                              their   weapon
                                                                    weapon on on a suspect.
                                                                              a suspect.             1015.
                                                                                              Id. at 1015.

16
16   Conversely, in
                  in this
                      thiscase,  thelaw
                           case,the      has,since
                                     lawhas,   since1985,   put
                                                     1985,put   reasonable
                                                              reasonable officers on on
                                                                            officers    notice
                                                                                     notice    of when
                                                                                            of when

17
17   it is appropriate  to use
           appropriate to       deadlyforce.
                            usedeadly  force. See also Cumow,      F.2d at
                                                       Curnow, 952 F.2d    325.
                                                                        at 325.

18
18          Further guidance
                     guidanceonon
                                thisthis
                                      Court's decision
                                         Court’s       on whether
                                                   decision       the defense
                                                            on whether        of qualified
                                                                         the defense     of qualified

19
19   immunity applies
              appliesininthis
                          thiscase  wasrecently
                               casewas   recently
                                                handed down
                                                  handed    by by
                                                         down  thethe Ninth
                                                                   Ninth     Circuit
                                                                         Circuit on March 24, 24,
                                                                                     on March

20   2022, inin Estate ofofAguirre
                            Aguirrev.v.County    of Riverside, 2022 WL
                                              of Riverside,
                                         County                     WL 871286
                                                                        871286(9th
                                                                                (9thCir. 2022).
                                                                                      Cir.      In
                                                                                           2022).       In

21
21   Aguirre, the Court
                  Court held
                         heldthat
                              thatpolice  shootings,like
                                   policeshootings,       allall
                                                       like      Fourth
                                                              Fourth    Amendment
                                                                     Amendment seizures, mustmust
                                                                                   seizures,  be be

22   objectively
     objectively reasonable,
                  reasonable,and
                              andwhen a suspect
                                   when         poses
                                         a suspect    no immediate
                                                   poses           threat threat
                                                           no immediate           to an orofficer or
                                                                           to an officer
23           killing the
     others, killing      suspectviolates
                      the suspect violateshis  FourthAmendment
                                           hisFourth             rights. Aguirre, 2022 WL
                                                      Amendmentrights.                    871286
                                                                                       WL 871286

24   *1. InIn Aguirre, an officer
     *1.                  officerwith
                                  withthe
                                        theRiverside County
                                             Riverside      Sherriff's
                                                       County          Department
                                                               Sherriffs               responded
                                                                                  responded
                                                                          Department        to   to

25   reports that
              that aa suspect
                       suspectwas
                               wasdestroying
                                   destroyingproperty with
                                               property       a bat-like
                                                           a bat-like
                                                         with            object
                                                                      object     had had
                                                                             andand      threatened
                                                                                     threatened a   a

26         with aababy.
     woman with                      *2. Upon
                   baby. Aguirre, at *2.  Uponarrival at at
                                                arrival  thethe
                                                             scene, thethe
                                                                scene,  officer exited
                                                                            officer        the patrol
                                                                                       the patrol
                                                                                    exited

27   car with
         with his
               hisgun
                   gundrawn andand
                        drawn   confronted the suspect.
                                   confronted   the suspect.        Id.
                                                                    Id.   The officer
                                                                               officermotioned
                                                                                       motionedforfor
                                                                                                   thethe
28



                                                      17
            PLAINTIFFS'
            PLAINTIFFS’ COMBINED BRIEF RE
                        COMBINED BRIEF    SUMMARY JUDGMENT
                                       RE SUMMARY          MOTIONS-5:18-CV-04826 BLM
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I
1    suspect
     suspecttotoback
                 backaway
                      awayandand
                              demanded that that
                                 demanded   he drop
                                                 he the
                                                    dropstick; stick; however,
                                                          the however,         the did
                                                                        the suspect    not did not
                                                                                    suspect

2    drop it,it, and
                  andbybysome
                          someaccounts
                                accounts  verbally
                                       verbally refused to dotoso.
                                                    refused     do so.    Id.

3           Thereafter,
            Thereafter,the
                         theofficer attempted
                               officer        to pepper-spray
                                        attempted             the suspect,
                                                  to pepper-spray                   but the
                                                                           but the spray
                                                                    the suspect,         blewspray blew
4    back
     back ininthe
                theofficer's faceface
                     officer’s     whilewhile
                                         the suspect remained
                                              the suspect     largely unaffected.
                                                           remained                                    *2.
                                                                      largely unaffected. Aguirre, at *2.

5    Next, the
            theofficer
                officerpointed
                        pointedhishis
                                   gungun
                                       at the
                                           at suspect,      and ordered
                                                       and ordered
                                              the suspect,         him to drop thedrop
                                                                          him to           butstick,
                                                                                   stick,the   the but the

6    suspectdid
     suspect         comply.
                 notcomply.
             didnot                Id.   Eyewitness accountsofofwhat
                                         Eyewitnessaccounts      what  transpired
                                                                     transpired   next
                                                                                next     differed
                                                                                     differed     between
                                                                                              between

7    whether
     whetherthe
             thesuspect
                 suspectthen
                          thenretrieved    a baseball
                                        a baseball
                                retrieved              fromfrom
                                                   bat bat      nearby
                                                             nearby     bushes
                                                                    bushes     and advanced
                                                                           and advanced quicklyquickly

8    toward
     toward the
             theofficer
                 officerwith
                         withatatleast one
                                   least     weapon
                                           weapon
                                         one          raised,
                                                  raised,     or whether
                                                          or whether      the suspect
                                                                     the suspect stoodstood    still, holding
                                                                                       still, holding

9      single stick
     a single  stickpointed  down.
                     pointeddown.        Id.
                                         Id.   Whichever
                                               Whichever the         theofficer,
                                                              case,the
                                                          thecase,        officer, without
                                                                                 without    issuing
                                                                                         issuing    a warning,
                                                                                                 a warning,

10   shot
     shot the
           thesuspect
               suspectsixsix
                           times from
                              times   no more
                                    from      than than
                                         no more   fifteenfifteen
                                                            feet away  away
                                                                  feetand theand
                                                                              suspect suspect died.
                                                                                  the died.                  Id.
                                                                                                             Id.

11
11   The officer
         officercontended   that
                 contendedthat   the
                               the   suspect
                                   suspect    stood
                                           stood facing himhim
                                                    facing      during
                                                            during all six   six shots,
                                                                         allshots,       butcoroner's
                                                                                   but the   the coroner’s

12   report
     report found
             foundthat the the
                    that    suspect died from
                                suspect   diedtwo  shots
                                                from  twoto his back.
                                                            shots               Id.
                                                                   to his back. Id.         The bullet
                                                                                                 bulletpaths
                                                                                                         paths

13   suggested
     suggestedthat
               thatthe
                     thesuspect hadhad
                          suspect   turned  awayaway
                                        turned   from from  the officer
                                                       the officer and was   was tofalling
                                                                        andfalling         to the ground
                                                                                     the ground

14   when  thebullets
     when the           struck.
               bulletsstruck.      Id.
                                   Id.

15           The
             The Ninth
                  NinthCircuit found
                         Circuit     thatthat
                                  found   the aforementioned key facts
                                               the aforementioned   keyprecluded             the officer’s
                                                                                 the officer's
                                                                         facts precluded

16   application
     applicationofofa qualified immunity
                       a qualified       defense
                                   immunity      and affirmed
                                              defense         the Districtthe
                                                         and affirmed      Court's denial
                                                                              District    of
                                                                                       Court’s denial of

17   summary
     summaryjudgment
             judgmentonon
                        plaintiffs' Fourth
                           plaintiffs’     Amendment
                                       Fourth        claim claim
                                              Amendment    based based
                                                                 upon qualified immunity.immunity.
                                                                       upon qualified

18   Aguirre, at     *4 (in
              at *1, *4  (in this
                              thisscenario,
                                   scenario,the
                                              thegovernment's     interest
                                                              interest
                                                   government’s             in use
                                                                       in the  the use  of force
                                                                                   of force did not   not justify
                                                                                                 didjustify

19   the "unmatched"
          “unmatched”intrusion on on
                       intrusion  the the
                                      suspect's constitutional
                                          suspect’s  constitutional    thus thethus
                                                               rights, rights,  officer's officer’s conduct
                                                                                     the conduct

20   was not
     was  notobjectively reasonable,
               objectively           and hisand
                             reasonable,     use his
                                                 of excessive
                                                      use of force violatedforce
                                                              excessive     the Fourth
                                                                                 violated the Fourth

21
21   Amendment);                      U.s. atat9.9.
                          Garner, 471 U.S.
     Amendment); see also Garner,
22           Here, much  likethe
                   muchlike    thesuspect in in Aguirre, the Decedent
                                    suspect                  Decedentposed
                                                                      posednono
                                                                              immediate threat
                                                                                immediate      to to
                                                                                            threat

23   defendant
     defendantPina
               Pinaororanybody
                        anybodyelse before
                                  else        he was
                                           he was
                                       before     shot.shot.
                                                        Moreover, in
                                                             Moreover,                officercould
                                                                          Aguirre the officer
                                                                       in Aguirre             could

24   visualize
     visualizethe
                thebatbat
                       or stick in the in
                           or stick    hand
                                          theof hand
                                                the suspect
                                                      of thebefore shooting,
                                                              suspect        and shooting,
                                                                        before   here, no and here, no
25   corresponding
     correspondingweapon
                   weaponwas
                          wasever visualized
                               ever  visualized  in Decedent’s
                                             in Decedent's     hands
                                                           hands      bydefendants.
                                                                 by the             In fact, In fact,
                                                                         the defendants.

26   the only
          onlyevidence
               evidencethatthat
                             supports the inference
                                supports            that Decedent
                                            the inference         posed a threat
                                                           that Decedent   posedis athe self- is the self-
                                                                                      threat

27   serving testimony
     serving  testimonyofofdefendant
                            defendant      andand
                                        Pina,
                                     Pina,        which
                                               which      testimony
                                                     testimony       is contradicted
                                                                is contradicted        ownhisexpert
                                                                                by his by      own expert

28



                                                          18
            PLAINTIFFS'
            PLAINTIFFS’ COMBINED BRIEF
                                 BRIEF RE                                        BLM
                                       RE SUMMARY JUDGMENT MOTIONS-5:18-CV-04826 BLM
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I    witness. AsAs
                 in in Aguirre, this Court
                                     Court should
                                            shouldfind              Pina’s
                                                         defendantPina's
                                                    finddefendant          actions
                                                                         actions unreasonable as aas a
                                                                                   unreasonable

2    matter of
            of law.
                law.
3              In
               In this case, defendants
                             defendantscannot  pointtotoany
                                        cannotpoint           reasonablemisinterpretation
                                                         anyreasonable   misinterpretation   of the
                                                                                          of the    facts
                                                                                                 facts

4    that necessitated
           necessitatedthethe
                            useuse
                                of deadly force.force.
                                    of deadly    There isThere
                                                          no debate (nordebate
                                                                is no    could have
                                                                               (nor the
                                                                                     could have the

5
5    defendants
     defendants reasonably
                 reasonablybelieved
                            believedotherwise) thatthat
                                      otherwise)        Decedent
                                                     Decedent waswas  not threatening
                                                                 not threatening      anyone
                                                                                 anyone at   at

6    the time
          time ofofthe
                    theshootings,
                        shootings,and
                                    andDominguez waswas
                                         Dominguez   not not committing
                                                         committing a violent crimecrime
                                                                         a violent  nor was  was he
                                                                                         norhe

7    engaging inin any
                    anyviolent
                         violentconduct that
                                  conduct    demonstrated
                                          that            thatthat
                                               demonstrated        he was
                                                               he was inclined  to cause
                                                                            inclined     seriousserious
                                                                                     to cause

8    physical harm
              harm atatthe
                        themoment
                            momenthehewas
                                       waskilled.  Thus,
                                              killed.    the defendants
                                                      Thus,                       not any
                                                                        do notdohave
                                                              the defendants                any basis
                                                                                      havebasis

9    for aa reasonable
             reasonablefactual
                         factualmistake
                                 mistakeallowing them
                                           allowing    to be
                                                    them   to entitled to qualified
                                                               be entitled          immunity
                                                                            to qualified     in this in this
                                                                                         immunity

10   matter.

11
11           2. Defendants'
                Defendants’legal
                              legalauthority in support
                                     authority          of the
                                                in support   ofreasonableness of defendant
                                                                the reasonableness   of defendant
                Pina's
                Pina’s acts  areinapposite.
                        actsare   inapposite.
12
12
               Defendants
               Defendants cite
                           citetotoseveral cases
                                     several     in support
                                             cases          of theofreasonableness
                                                     in support                    of defendant
                                                                      the reasonableness  of defendant
13
13
     Pina's actions,
     Pina’s actions,however,
                     however,each
                              eachof of
                                     thethe
                                         cases are are
                                            cases  distinguishable, if notifinapplicable,
                                                        distinguishable,                  to the to the
                                                                              not inapplicable,
14
     present case.
             case. A A
                     review of those
                       review        cases
                               of those    demonstrates
                                        cases           that the
                                              demonstrates   thatfact
                                                                  the pattern       and
                                                                              and the
                                                                       fact pattern     the proper
                                                                                      proper
15
15
     analysis to
               to be
                   beapplied
                      appliedininthis action
                                   this      is not
                                        action      unique
                                                 is not     and and
                                                        unique  therefore defendants
                                                                    therefore        cannotcannot
                                                                               defendants   argue argue
16
16
     that the
           thelaw
                lawwas
                    wasnotnot
                           clearly established.
                              clearly           Simply,
                                      established.      in all ofin the
                                                    Simply,          all cases
                                                                         of therelied
                                                                                casesupon  by the
                                                                                       relied  upon by the
17
     defendants
     defendants and
                 andthe
                     theones
                         onessetset
                                 forth by plaintiffs,
                                    forth             the question
                                          by plaintiffs,           of whether
                                                          the question        or not or
                                                                        of whether   thenot  the officer
                                                                                         officer
18
18
     used deadly
          deadly force
                  forcewas
                        wasanswered
                            answeredbyby
                                       looking at the
                                         looking      language
                                                  at the           set forth
                                                               set forth
                                                         language        in in Garner. See  e.g.,
                                                                                       See e.g.,
19
19
     Forrett at 420.
     Forrett    420. To
                      Towit,
                         wit,only if the
                               only      lawslaws
                                      if the  of physics and, inand,
                                                   of physics    general, life are ignored
                                                                     in general,    life are can
                                                                                              ignored can
20
     defendant
     defendant Pina's
                Pina’sputative
                       putativejustification forfor
                                 justification   pulling the the
                                                    pulling   trigger everever
                                                                  trigger  reachreach
                                                                                  the trier     factofforfact for
                                                                                        the oftrier
21
21
     consideration.
     consideration.
22
               Here, defendants
                     defendants place
                                 placesupport
                                       supportforfortheir   position
                                                          position
                                                      their                a Fourth
                                                                   in ain Fourth    Circuit
                                                                                 Circuit    case, Anderson
                                                                                         case,    Anderson
23
        Russell, 247 F.3d
     v. Russell,
     v.              F.3d 125
                           125(4th
                                (4thCir.
                                     Cir.2001). AsAs
                                           2001). setset
                                                      forthforth
                                                             in defendants' motion
                                                                 in defendants’    for summary
                                                                                 motion  for summary
24
     judgment,
     judgment, Russell
                Russellused
                        usedforce
                              force(which
                                     (whichcaused serious
                                             caused           injuries,
                                                          injuries,
                                                    serious             not not
                                                                    but but fatalfatal injuries)
                                                                                  injuries)       an an
                                                                                            after after
25
     independent witness
     independent witnessinformed
                          informedhim that
                                    him    plaintiff
                                         that        appeared
                                              plaintiff       to have
                                                        appeared      a gun.a Russell
                                                                  to have             himselfhimself
                                                                              gun. Russell
26
     observed plaintiff
               plaintiffforfor2020
                                 minutes to confirm
                                   minutes          that he
                                             to confirm     appeared
                                                          that       to havetoa gun,
                                                               he appeared      haveand this and this
                                                                                     a gun,
27
     evidence was
               wasnotnot
                      refuted by plaintiff.
                          refuted                Id. at 130.
                                   by plaintiff. Id.     130.In In Russell, the unarmed
                                                                                 unarmedsuspect
                                                                                          suspect
28
     had "initially
         “initially complied
                     compliedwith
                              withthe
                                    theorder to raise
                                         order        his hands,
                                                to raise         [but] [but]
                                                          his hands,    later lowered
                                                                              later lowered   withoutwithout
                                                                                       them, them,

                                                         19
                                                         19
            PLAINTIFFS' COMBINED BRIEF
            PLAINTIFFS’ COMBINED BRIEF RE SUMMARY JUDGMENT
                                       RE SUMMARY JUDGMENT MOTIONS-5:18-CV-04826 BLM
                                                           MOTIONS-5:18-CV-04826 BLM
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I1   explanation to
                  to the
                      theofficers,    anan attempt to
                          officers,in in            to reach
                                                        reachinto
                                                               intohishis
                                                                       back leftleft
                                                                          back   pocket        turn off
                                                                                     pocket to turn      his
                                                                                                     offhis

22   Walkman radio."          was only
                     Id. ItIt was
             radio.” Id.               after plaintiff
                                  only after           disobeyed Russell's
                                             plaintiff disobeyed                      raisehis
                                                                           orderstotoraise
                                                                 Russell’sorders            hishands
                                                                                                hands

33   and reached
         reached toward
                  towardhis
                         hisgun,
                             gun,that Russell
                                   that       shotshot
                                        Russell              Id. at 132.
                                                    him.him. Id.    132. AsAsdefendants note,
                                                                               defendants     the the
                                                                                           note,

44   officer inin that
                   thatcase shot
                         case    the the
                              shot    suspect "[b]elieving
                                         suspect            that [the
                                                    “[b]elieving   thatsuspect] was reaching
                                                                         [the suspect]       for a
                                                                                       was reaching for a

55   weapon." Def.'s
     weapon.”  Def.’sBr.Br.13.13.
                               Here, defendants
                                  Here,         possessed
                                         defendants       information
                                                    possessed         that Decedent
                                                               information                could be
                                                                            that Decedent could

66   armed, but
            but this
                 this information
                       informationwas
                                   wastenuous,
                                        tenuous,atat
                                                   best, and
                                                     best,      is refuted
                                                             is refuted
                                                           and             by the
                                                                        by the facts thatthat
                                                                                   facts  existed at at
                                                                                              existed

77   the time
          time ofofthe
                    theshooting;
                        shooting;indeed, defendants
                                   indeed,          recovered
                                           defendants         weapons
                                                       recovered weapons        the residence
                                                                      at theatresidence  where where

8    Anchondo and
              and Ruiz
                  Ruizwere
                       werearrested
                            arrestedininMorgan
                                         MorganHill              the
                                                      priortotothe
                                                Hillprior            encounter
                                                                   encounter   wherein
                                                                             wherein   Dominguez
                                                                                     Dominguez

99   was killed.  (Crowley Supp.
          killed. (Crowley  Supp.Decl.,  Exh. 15,
                                  Deci., Exh.  15,Lopez
                                                   LopezDepo., pg. pg.
                                                          Depo.,   51, I.51,
                                                                          2-17). Moreover,
                                                                             I. 2-17). Moreover,

10
10   defendants do
     defendants do not
                    noteven
                        evenclaim
                             claimthat
                                    thatthey,
                                          they,ororanybody   else
                                                           else
                                                     anybody      that
                                                                that   could
                                                                     could    provide
                                                                           provide    such
                                                                                   such    a hearsay
                                                                                        a hearsay

11
11   communication, saw
     communication,  sawDominguez
                         Dominguezwith
                                   witha agun   prior
                                           gunprior    hishis
                                                    toto      being
                                                           being      killed.
                                                                  killed.

12
12          Next, Thompson v. Hubbard, 257 F.3d
                           v. Hubbard,     F.3d 896
                                                896 (8th
                                                     (8th Cir.
                                                           Cir.2001),
                                                                2001),cited
                                                                        citedby by
                                                                                defendants, is is
                                                                                   defendants,

13
13   distinguishable from
     distinguishable  from the
                            thepresent case for similar reasons. Def.'s
                                presentcaseforsimilarreasons.           Br. Br.
                                                                   Def.’s   14. 14.
                                                                                In         Thompson,the
                                                                                        In Thompson, the

14   defendant officer
     defendant         responded
                  officer        to a report
                            responded    to ofashots fired and
                                                  report    of anshots
                                                                  armed fired          and    an    armed

15   robbery. Thompson, 257 F.3d
                            F.3d at
                                 at 898.
                                    898. The
                                          Theofficer
                                              officerapproached     of of
                                                                  one
                                                      approachedone    thethe robbery
                                                                            robbery   suspects,
                                                                                    suspects,

16
16   who began
         began to
                to flee.  Id. A foot chase
                    flee. Id.        chase ensued, andthe
                                           ensued,and  thesuspect   ranbetween
                                                           suspectran                 buildings
                                                                                 twobuildings
                                                                        betweentwo              and
                                                                                              and

17   climbed over
              overaashort   fence. Id. The suspect
                     shortfence.           suspectthen
                                                   thengot
                                                        gotupupfrom  thethe
                                                                  from      ground,
                                                                         ground,    looked
                                                                                 looked      his his
                                                                                        overover
18   shoulder
     shoulder atatthe
                    theofficer, andand
                         officer,    moved his arms
                                       moved        as though
                                               his arms       reaching
                                                         as though     for a weapon
                                                                    reaching        at waist at waist
                                                                              for a weapon

19
19   level. Id. The officer
                    officeryelled
                            yelled"stop,"
                                   “stop,”the
                                            thesuspect's
                                                suspect’s  arms
                                                         arms   continued
                                                              continued    to move,
                                                                        to move, andand  the officer
                                                                                     the officer
20   fatally
     fatally shot the suspect.
               shot    the suspect.       Id.    As distinguishable from the
                                                       distinguishable   frompresent
                                                                                 the case
                                                                                       present        case

21
21     Thompson involved aa suspect
     — Thompson
     —                       suspectwhom
                                     whomthe   respondingofficer
                                          theresponding    officer reasonably
                                                                 reasonably    believed
                                                                            believed     just just
                                                                                     hadhad

22   committed
     committed aa crime
                   crimeofofviolence,  wasarmed,
                             violence,was          andwas
                                           armed,and   was  about
                                                          about to to
                                                                   attack thethe
                                                                      attack      officer.
                                                                              officer.

23          In addition,
               addition, defendants
                          defendantspoint
                                     pointtotothethe
                                                   case of of Reese
                                                     case                 Anderson, 926 F.2d
                                                              Reese v.v. Anderson,            494(5th
                                                                                        F.2d 494   (5th

24   Cir. 1991).
           1991). Notably, in in Reese, the court
                    Notably,                 courtbased
                                                   baseditsitsdecision
                                                               decisiononon
                                                                          thethe
                                                                              officer's     version
                                                                                        version
                                                                                  officer’s          of the
                                                                                                of the
25   facts
     facts which
            whichwere
                  weretechnically left undisputed
                         technically              because
                                       left undisputed    the plaintiff
                                                       because          failed tofailed
                                                                 the plaintiff    submittoany
                                                                                            submit any

26   affidavits
     affidavits or
                 orother
                    otherevidence
                          evidencetotosupport herher
                                        support      side
                                                  side     of the
                                                       of the      story. Id. at n.1
                                                               story.            n.1 &&498.   And
                                                                                        498.And   which
                                                                                                which
27   fact
     fact isis notable
               notable because
                        becausenot
                                notonly
                                    onlyhave  plaintiffsproduced
                                         haveplaintiffs  producedample   evidence
                                                                  ampleevidence to to defeat
                                                                                    defeat   summary
                                                                                           summary

28
28   judgment,
     judgment, but
                butthey
                    theyhave
                         havealso
                               alsodemonstrated defendants'
                                     demonstrated           actsacts
                                                   defendants’   unreasonable as a as
                                                                     unreasonable     a matter
                                                                                   matter of   of


                                                       20
            PLAINTIFFS'
            PLAINTIFFS’COMBINED
                        COMBINEDBRIEF      SUMMARY
                                 BRIEFRERESUMMARY   JUDGMENT
                                                  JUDGMENT MOTIONS-5:18-CV-04826 BLM BLM
                                                             MOTIONS-5:18-CV-04826
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I
1    law. InInthis
                thisinstance, it isit the
                      instance,            defendants
                                       is the         whowho
                                              defendants havehave
                                                              failedfailed
                                                                     to even  address
                                                                           to even    the opinion
                                                                                   address        of
                                                                                            the opinion of

2    their
     their own
           own expert
                expertwitness
                       witnessthat Dominguez'
                                that          armarm
                                     Dominquez’   waswas
                                                      raised when
                                                          raised  he was
                                                                 when he shot. Moreover,
                                                                         was shot.   Moreover,

3                  officer repeatedly
     in Reese, the officer             yelledatatthe
                            repeatedlyyelled          deceasedtotoraise
                                                  thedeceased              hishands
                                                                    raisehis            which
                                                                               hands-- which
                                                                                        --   hehe  initially
                                                                                                initially

4    complied with,
              with,showing
                    showinghehe
                              understood -- before
                                understood         shooting
                                                before
                                                   --                 Id. at 500.
                                                            him. him. Id.
                                                       shooting              500. Further, thethe
                                                                                    Further,

5             in Reese mistakenly
     officer in                   believedthat
                       mistakenly believed thatthe  deceasedwas
                                                thedeceased  was  a man
                                                                a man   who
                                                                      who hadhad been
                                                                              been     arrested
                                                                                   arrested

6    previously for
                 forarmed
                     armedrobbery.   Id. at 496.
                            robbery. Id.     496. Here,
                                                   Here,defendants onlyonly
                                                          defendants    possessed the flimsy
                                                                            possessed   the flimsy

7    evidence that
               thatDominguez
                    Dominguezmay
                              maybe be
                                    armed, despite
                                       armed,      having
                                              despite     previously
                                                       having        recovered
                                                               previously      weapons
                                                                          recovered weapons

8    from the
          the residence
               residenceininMorgan
                             MorganHill
                                    Hillbefore Dominguez
                                          before           was
                                                         was
                                                 Dominguez     shot. (Crowley
                                                             shot.   (Crowley Supp.
                                                                              Supp. Decl.,
                                                                                     Dccl., Exh.
                                                                                            Exh.

9    15,
     15, Lopez
         Lopez Depo.,
               Depo.,pg.
                      pg.51,
                          51,I. I.2-17). Defendants'
                                    2-17).           evidence,
                                           Defendants’         thatthat
                                                        evidence,   Dominguez may may
                                                                        Dominguez have have
                                                                                       been been
10
10              of no
     armed, was of    greaterindicia
                   no greater             reliabilitythan
                              indiciaofofreliability  thanthe
                                                           thefact   thatany
                                                               factthat   anyother  personin indefendant
                                                                              otherperson       defendant
11
11   Pina's vicinity
     Pina’s vicinity may alsohave
                     mayalso  havepossessed     weapon.
                                   possesseda aweapon.
12
12          Defendants next
            Defendants       lookto
                       next look     theThird
                                  tothe  ThirdCircuit      supportofofauthority
                                               Circuitininsupport      authorityto to
                                                                                    justify thethe
                                                                                      justify      shooting
                                                                                                 shooting

13
13   of an unarmed
           unarmed man,
                   man,however
                        howeverthe
                                 thelegal
                                      legalauthority from
                                             authority     thatthat
                                                        from        Circuit
                                                                 Circuit    overwhelmingly
                                                                         overwhelmingly supports
                                                                                           supports

14   plaintiffs'
     plaintiffs’ position
                 position ininthis
                               thiscase.
                                    case.As As
                                            such, defendants'
                                               such,              position
                                                              position
                                                     defendants’            is equally
                                                                       is equally indefensible underunder
                                                                                       indefensible

15
15                            whichholds:
                   precedent, which
     Third Circuit precedent,       holds:"Even  wherean
                                           “Evenwhere  anofficer       initiallyjustified
                                                          officerisisinitially    justifiedininusing   force,
                                                                                                usingforce,

16
16   he may not
            not continue
                continuetotouse  suchforce
                             usesuch   forceafter
                                              after  it has
                                                  it has    become
                                                         become     evident
                                                                 evident thatthat
                                                                              the the threat
                                                                                  threat      justifying
                                                                                         justifying

17       force has
     the force has vanished."         v. New
                               Lamont v.
                    vanished.” Lamont    NewJersey,      F.3d 177,
                                             Jersey, 637 F.3d 177, 184
                                                                    184(3d
                                                                        (3dCir.
                                                                            Cir.2011).
                                                                                 2011).

18
18          In Lamont,
            In            a suspected
                             suspectedcar
                                       carthief, fleeing
                                             thief,      fromfrom
                                                    fleeing    officers until trapped
                                                                    officers            in a thicket,
                                                                               until trapped    in a thicket,

19
19   ignored officer
              officercommands
                      commandsto to
                                 show  his hands
                                    show         and surrender.
                                           his hands                Id. at 180.
                                                     and surrender. Id.    180. "Suddenly,  the
                                                                                “Suddenly, the

20                  his right
     suspect pulled his              outofofhis
                               hand out
                         right hand          hiswaistband,     asififhe
                                                           notas
                                                waistband,not         hewere
                                                                         weresurrendering,
                                                                              surrendering,but  quickly
                                                                                            butquickly

21
21   and as
         as ifif he
                  hewere
                     weredrawing
                          drawinga pistol. AsAs
                                   a pistol. thethe
                                                 suspect made
                                                    suspect   the sudden
                                                            made         movement,
                                                                  the sudden              [officers]
                                                                                   [officers]
                                                                             movement,

22                  Id. They continued
             fire.” Id.
     opened fire."           continuedtotofire
                                            fireforfora total of of
                                                        a total  10 10
                                                                    seconds, eveneven
                                                                       seconds,    afterafter
                                                                                         the suspect
                                                                                              the suspect

23   withdrew his
               his hands,
                    hands,revealing    only
                            revealingonly a crack pipe.
                                             a crack       Id. The district
                                                     pipe. Id.     districtcourt
                                                                            courtgranted
                                                                                  grantedsummary
                                                                                           summary

24   judgment inin favor
     judgment       favorofofthe
                               theofficer   defendants,
                                          defendants,
                                    officer              holding,
                                                      holding,    “[w]hen
                                                               "[w]hen [the[the suspect]
                                                                            suspect] mademade  a sudden
                                                                                          a sudden

25   movement and  ripped his
              and ripped   hisright
                               righthand   fromhis
                                     handfrom   hisleft
                                                     leftwaistband,   the
                                                          waistband,the   troopers,
                                                                        troopers, believing [he][he]
                                                                                    believing     hadhad

26   a gun,
        gun,allallfired  at the
                     fired   at same time and
                                the same   timestopped once [theonce
                                                  and stopped    suspect]
                                                                     [the was no longer
                                                                           suspect]  wasa no longer a

27            Id. at 181.
     threat.” Id.
     threat."        181. InInthis
                                thiscase, thethe
                                      case,    officers at at
                                                 officers  thethe
                                                                scene other
                                                                  scene     than
                                                                         other   defendant
                                                                               than        PinaPina
                                                                                    defendant       not not
                                                                                                did did

28


                                              21
                                              21
            PLAINTIFFS’ COMBINED
            PLAINTIFFS'                RE SUMMARY JUDGMENT
                        COMBINED BRIEF RE         JUDGMENT MOTIONS-5:18-CV-04826 BLM
                                                           MOTIONS-5:18-CV-04826 BLM
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I    shoot, they
            they were otherwiseoccupied
                 were otherwise          withflash-bang
                                occupiedwith                      or or
                                                           grenades
                                               flash-banggrenades    had  anan
                                                                        had    obstructed
                                                                             obstructed    view
                                                                                        view of of

2    Decedent. (Crowley                   15, Lopez
                              Deci., Exh. 15,
                        Supp.Decl.,
               (CrowleySupp.                        Depo.,pg.
                                              Lopez Depo.,     78,I. I.13-17;
                                                           pg.78,       13-17;pg.  89,I. 9-13).
                                                                               pg.89,    I. 9-13).

3           In Lamont, the Third
            In Lamont,     Third Circuit
                                 Circuitreversed
                                         reversedand  concludedthethe
                                                  andconcluded      officers    were
                                                                             were
                                                                       officers   notnot entitled
                                                                                      entitled to to

4    qualified immunity
                immunitybecause
                         because"there            triable
                                  “thereisisa atriable  issue onon
                                                          issue    whether
                                                                 whether thethe  [officers’]
                                                                             [officers']     continued
                                                                                         continued  use use

5          force, even
     of force,    even if initially justified, became
                            if initially                excessive
                                                justified,        as the events
                                                             became       excessive           as   the   events

6               Id. at 184
     unfolded.”Id.
     unfolded."        184 (emphasis
                           (emphasisadded).
                                     added)."Here,
                                              “Here,thethe
                                                         troopers opened
                                                            troopers     fire as
                                                                     opened           assuspect]
                                                                               fire[the  [the suspect]

7    yanked his
            his right
                 righthand
                       handout
                            outofofhishiswaistband.
                                          waistband.At At
                                                       thatthat point,
                                                             point, the the troopers
                                                                        troopers     reasonably
                                                                                 reasonably      believed
                                                                                            believed

8    that [the
           [thesuspect]
                suspect]was
                         waspulling a gun
                              pulling     on them.
                                       a gun       But after
                                              on them.  But [the
                                                             aftersuspect] made this
                                                                    [the suspect]    sudden
                                                                                  made  this sudden

9    movement,
     movement, his
                his[weaponless] right
                     [weaponless]     hand
                                   right   waswas
                                         hand visible to troopers.
                                                    visible        . . . On theseOn
                                                            to troopers.          facts
                                                                                  .   . a facts a
                                                                                     these.




10   reasonable jury
     reasonable  jurycould
                      couldconclude   thatthe
                            concludethat         troopers
                                            thetroopers   should
                                                        should   have
                                                               have recognized thatthat
                                                                       recognized   [the[the suspect]
                                                                                         suspect]

11
11   was unarmed  andstopped
         unarmed and  stoppedfiring   sooner.” Id.
                               firingsooner."
12
12          Applying the
            Applying       holdinginin Lamont
                      the holding             to the
                                       Lamontto   the instant
                                                       instantcase,
                                                               case,the
                                                                      thedefendants' contention
                                                                           defendants’          thatthat
                                                                                       contention

13   Dominguez
     Dominguez previously
                previouslyfled
                            fledfrom  officers
                                   from        andand
                                         officers  theirtheir
                                                          disputed contention
                                                              disputed        that hethat
                                                                        contention           may have
                                                                                       mayhehave
14   previously
     previously had
                 hada firearm are immaterial
                       a firearm             to theirtouse
                                   are immaterial          of force
                                                         their  use after Dominguez
                                                                     of force  after was
                                                                                     Dominguez was

15
15   immobilized
     immobilized bybythe
                       theVCT, raised
                            VCT,       his arms,
                                   raised        and was
                                            his arms, andunarmed. When defendant
                                                           was unarmed.          Pina
                                                                          When defendant Pina

16
16   deployed his
     deployed  hisassault
                   assaultrifle,  Dominguez
                              rifle,        waswas
                                     Dominguez "boxed in" and
                                                   “boxed   in”the situation
                                                                 and         was contained,
                                                                      the situation was contained,

17   meaning Dominguez
             Dominguezwould
                       wouldbebeunable
                                 unabletotoescape from
                                             escape     that
                                                     from       point.
                                                             point.
                                                          that      As inAs in Lamont, defendant
                                                                               Lamont, defendant

18
18               have, but
     Pina should have, but failed
                            failed to,              thatDecedent
                                         recognizedthat
                                    to, recognized       Decedentwas  immobilizedand
                                                                  wasimmobilized      hadhishis
                                                                                  andhad        arms
                                                                                              arms

19   raised before      resortedtotoaadeadly
                    he resorted
            before he                         degreeofofforce
                                       deadlydegree              and
                                                          forceand adjusted hishis
                                                                     adjusted      conduct
                                                                                conduct    accordingly;
                                                                                        accordingly;

20   similarly
     similarly with
               withDominguez'
                    Dominguez’passive resistance
                                passive          to Officer
                                         resistance         Pina's
                                                    to Officer         commands
                                                                   commands
                                                                Pina’s           via Decedent’s
                                                                            via Decedent's
21
21   statements.
     statements.

22                   Neal v.v.City
            Finally, Neal      Cityof of Fresno, 2015 WL
                                      Fresno,             1137077*5*5(E.D.
                                                      WL 1137077           Cal.Cal.
                                                                       (E.D.    2015) is likewise
                                                                                    2015)   is likewise

23   distinguishable and
     distinguishable  and inapplicable      thecase
                           inapplicabletotothe           bar.In In Neal, the facts demonstrated
                                                caseatatbar.                                    thatan
                                                                                   demonstratedthat  an

24   officer
     officer came
             came upon
                   uponthe
                        thesuspect          wasattempting
                            suspectasashehewas   attempting
                                                          to to  flee
                                                              flee  thethe scene
                                                                         scene    of the
                                                                               of the    felony
                                                                                      felony    where
                                                                                             where a a

25   gun had
          hadbeen
              beenused to to
                    used  threaten the the
                             threaten               of a civilian. Neal, 2015 WL
                                       life oflifea civilian.                    1137077*5.*5The
                                                                              WL1137077        The

26   suspect
     suspect did
              didnot
                  notfollow
                       followthethe
                                  officer's instructions
                                     officer’s           to freeze,
                                                instructions        but rather
                                                              to freeze,             continued
                                                                               continued
                                                                          but rather             to try and
                                                                                         to try and
27   evade arrest
            arrestbybyjumping a fence
                        jumping       andand
                                 a fence  thenthen
                                               motioned as though
                                                    motioned       he werehereaching
                                                              as though              for a
                                                                              were reaching for a

28   weapon ininhishiswaistband.
                        waistband. Id.    The officer's
                                               officer’sshooting of the
                                                          shooting      suspect
                                                                    of the      was found
                                                                            suspect       to be to be
                                                                                     was found


                                                       22
            PLAINTIFFS' COMBINED
            PLAINTIFFS’ COMBINED BRIEF
                                 BRIEF RE SUMMARY JUDGMENT
                                       RE SUMMARY          MOTIONS-5:18-CV-04826 BLM
                                                  JUDGMENT MOTIONS-5:18-CV-04826 BLM
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I
1    reasonable.
     reasonable.     Id.      is undisputed in this case that
                           It is                              Dominguezhad
                                                         that Dominguez hadnot  continuedtotoflee
                                                                            notcontinued             from
                                                                                               fleefrom

2    the defendant officersatatthe
         defendantofficers           timehehewas
                                thetime       wasshot.
                                                   shot.

3       D. Both
           BothThe
                TheCityCity
                        AndAnd
                            PolicePolice
                                   Department's Endorsement
                                         Department’s       And Promulgation
                                                        Endorsement    And OfPromulgation O
4
            Pina's
            Pina’sFalse Justification
                    False             For Dominguez'
                            Justification            Killing Demonstrates
                                            For Dominguez’                Defendants'
                                                                Killing Demonstrates  Defendants’
            Liability
            Liability
5                                                            Department       liable pursuant
            Defendants CityofofSan
            Defendants City     SanJose  andSan
                                    Joseand  SanJose  Police
                                                 JosePolice Department areare
                                                                           liable pursuant to to
6    Monell v.v.Department
     Monell      Department   of Social
                           of Social    Services, 436 U.S.
                                     Services,        U.S. 658
                                                            658(1978),
                                                                (1978),which
                                                                        whichholds municipalities
                                                                               holds municipalities
7                                                                policy or custom. Id. at 694.
                                                                                          694. Plaintiffs
                                                                                                 Plaintiffs
     accountable for
     accountable  forinjuries
                       injuriesthat
                                 thatarise from
                                       arise     an an
                                              from      official
                                                    official policy or custom.
8    are required to  demonstratethat
                   to demonstrate      Decedent:"(1)
                                  thatDecedent:   “(1)possessed   a constitutional
                                                       possesseda constitutional    right
                                                                                 right of which he he
                                                                                          of which
9    was deprived;
         deprived;(2)
                   (2)that
                        thatthe County
                              the      hadhad
                                  County   a policy; (3) that
                                              a policy;   (3) the  the policy
                                                              thatpolicy 'amounts        to deliberate
                                                                                  to deliberate
                                                                              ‘amounts
10
10   indifference' to
     indifference’  to the
                        theconstitutional          and(4)
                                            right;and
                            constitutionalright;        (4)that    thepolicy
                                                             thatthe   policyis is
                                                                                thethe ‘moving
                                                                                     'moving    force
                                                                                             force behind thethe
                                                                                                      behind
11
11
     constitutional  violation.”- Anderson
     constitutional violation.                 Warner, 451
                                  Andersonv.v.Warner,  451 F.3d  1063,1070
                                                           F.3d 1063,  1070(9th
                                                                            (9thCir.2006)   (quoting
                                                                                 Cir.2006)(quoting
12
12   Oviatt      Pearce, 954 F.2d
     Oviatt v.v.Pearce,      F.2d 1470,
                                   1470,1474
                                         1474(9th Cir.Cir.
                                               (9th    1992)  (in turn
                                                           1992)            quoting City ofofCanton
                                                                        quoting
                                                                   (in turn                   Cantonv. v.
13
13   Harris, 489 U.S.
     Harris,     U.S. 378,
                       378,389-91
                            389-91(1989)).
                                    (1989))."There alsoalso
                                               “There   mustmust
                                                             be a be
                                                                  'direct causalcausal
                                                                      a ‘direct  link' between
                                                                                        link’ between
14   the policy
         policyororcustom
                    customand thethe
                            and    injury," andand
                                       injury,” plaintiffs "must
                                                    plaintiffs   be able
                                                               “must be to demonstrate
                                                                         able          that thethat the
                                                                              to demonstrate
15
15   injury resulted
            resulted from                 andwell
                               ‘permanentand
                      from aa 'permanent                   practice.”- (Ibid.
                                                   settledpractice.
                                              wellsettled                              McDadev.v. West,
                                                                       (Ibid. (quoting McDade      West,
16
16   223 F.3d
         F.3d 1135,
               1135,1141
                     1141(9th
                           (9thCir.
                                Cir.2000) (internal
                                      2000)         quotations
                                             (internal            omitted)).
                                                               omitted)).
                                                       quotations            A municipality
                                                                          A municipality     may not
                                                                                         may not
17   be held
        held liable
              liableunder
                     underSection
                           Section1983
                                    1983where
                                         whereno no
                                                 injury    or constitutional
                                                        or constitutional
                                                    injury                     violation
                                                                          violation      has occurred.
                                                                                    has occurred.
18
18
     Jacksonv.v.City
     Jackson     Cityofof Bremerton, 268 F.3d
                       Bremerton,             646, 653
                                         F.3d 646,      (9thCir.
                                                    653(9th                   ofCanton,
                                                                  2001); City of
                                                             Cir.2001);                      U.S.
                                                                                 Canton, 489 U.S.
19
19   at 389-90
        389-90 (the
                (the failure       trainororsupervise
                      failuretototrain       supervisemay
                                                       may     riserise
                                                            give
                                                          give              a “policy
                                                                     to ato"policy     or custom”
                                                                                   or custom"  sufficient to to
                                                                                                   sufficient
20                     on municipality).
             liabilityon
     impose liability     municipality).
21
21
            A plaintiff
              plaintiffmay
                        mayprove
                            provethe
                                   theexistence of aofcustom
                                        existence            or informal
                                                       a custom           policypolicy
                                                                  or informal    with evidence  of
                                                                                       with evidence of
22            constitutionalviolations
     repeated constitutional                whichthe
                                        forwhich
                             violationsfor        theerrant
                                                      errantmunicipal             werenot
                                                                        officialswere
                                                             municipalofficials         not discharged
                                                                                          discharged
23       reprimanded.
     or reprimanded.       See Gillette     Delmore, 979 F.2d
                               Gillettev.v.Delmore,      F.2d 1342,
                                                               1342,1348
                                                                     1348(9th
                                                                           (9thCir.
                                                                                 Cir.1992);   NadelIv.v.
                                                                                       1992); Nadell
24   Las
     Las Vegas
          VegasMetro
                MetroPolice    Dept., 979 F.3d
                            Dept.,
                       Police             F.3d 924,
                                                924,930
                                                     930(9th Cir.Cir.
                                                          (9th    2001) (finding
                                                                      2001)       no municipal
                                                                             (finding no municipal
25   liability because
               becausethere  wasnonoevidence
                       therewas      evidenceat at trial
                                                trial establishing thatthat
                                                         establishing        useuse
                                                                        the the of excessive forceforce
                                                                                    of excessive
26   was aa formal
             formalpolicy,
                    policy,that
                             thatthere
                                   therewas
                                         wasa widespread    practice
                                                         practice
                                              a widespread            of the
                                                                  of the      police
                                                                         police      department
                                                                                department       or that
                                                                                            or that
27   previous violations
              violationshad  occurredfor
                         hadoccurred      whichthere
                                      forwhich         wasnonoreprimand
                                                 therewas               or or
                                                                reprimand     discharge); Gomez
                                                                           discharge);          v.
                                                                                          Gomez V.
28   Vernon, 255 F.3d
                  F.3d1118, 1127
                        1118,    (9th (9th
                               1127   Cir. 2001) (holding(holding
                                            Cir. 2001)    that correctional departmentdepartment
                                                                   that correctional


                                                         23
            PLAINTIFFS'          BRIEF RE
                        COMBINED BRIEF
            PLAINTIFFS’ COMBINED          SUMMARY JUDGMENT
                                       RE SUMMARY JUDGMENT MOTIONS-5:18-CV-04826 BLM
                                                           MOTIONS-5:18-CV-04826 BLM
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I
1    administrators
     administrators may
                    maynot
                        nottake
                            take"blind-eye"
                                  “blind-eye”approach   and
                                                      and
                                               approach      that
                                                          that    condoning
                                                               condoning    unconstitutional
                                                                         unconstitutional acts acts

2    by the failure
            failure to   investigateororcorrect
                     to investigate      correctthe    repeatedviolations
                                                  therepeated    violations constitutes
                                                                          constitutes    a policy
                                                                                      a policy     or custom
                                                                                               or custom

3          Monell).
     under Monell).       In
                          In   Fiacco
                               Fiacco v.v.City
                                           Cityofof
                                                  Rensselaer,    NY., 783 F.2d
                                                              N.Y.,
                                                    Rensselaer,           F.2d 319,
                                                                                319, 328
                                                                                      328(2nd
                                                                                          (2ndCir.
                                                                                               Cir.1986),
                                                                                                     1986),

4    the Second CircuitCourt
         Second Circuit Courtstated:
                              stated:

5           We have
                 have no nodoubt
                              doubtthat,that,in in
                                                 thethecontext
                                                           contextof aoftheory
                                                                            a theorythat thethatCity
                                                                                                   thenegligently
                                                                                                          City negligently
            supervised its its officers         theiruse
                                officersinintheir        useofofforce,
                                                                   force,thethe    evidence
                                                                               evidence        thatthat   a large
                                                                                                      a large        number
                                                                                                                number
6
            of claims ofof police    brutalityhad
                           police brutality         hadbeen
                                                          beenmade madebybyother           persons       against
                                                                                 otherpersons against thethe             City,
                                                                                                                      City,
7           together
            together with
                        withevidence
                                evidence   as as to theto City's   treatment
                                                           the City’s              of theseofclaims,
                                                                             treatment              thesewas  claims, was
            relevant. Whether
                        Whetherorornotnot      thetheclaims   had validity,
                                                          claims     had validity,the very  theassertion      of a
                                                                                                   very assertion        of a
8           number of of such
                          such claims
                                  claimsput   putthetheCity
                                                          Cityononnotice
                                                                     noticethat that    there
                                                                                    there     waswas     a possibility
                                                                                                     a possibility    thatthat
            its police
                police officers
                        officershad  hadused
                                           usedexcessive
                                                      excessive   force.
                                                                      force.TheThe City's          knowledge
                                                                                             knowledge
                                                                                         City’s                     of these
                                                                                                             of these
9           allegations, andand the
                                  thenature
                                         natureand   andextent
                                                            extentofof itsits
                                                                           efforts
                                                                               efforts    to investigate
                                                                                       to investigate       andand
                                                                                                                 recordrecord
10          the claims
                 claims were       pertinenttotoFiacco's
                          werepertinent               Fiacco’s      contention
                                                                 contention       thatthat
                                                                                         thetheCityCity
                                                                                                      hadhad    a policy
                                                                                                            a policy    of of
10
            nonsupervision
            nonsupervision of    of its
                                     its policemen
                                         policementhat           reflectedaadeliberate
                                                           thatreflected                            indifferencetototheir
                                                                                   deliberateindifference                their
11
11          use ofofexcessive
                      excessiveforce.      TheThe
                                      force.        fact fact
                                                          that none
                                                                 that of nonethe claims
                                                                                   of the had        yet been
                                                                                                claims      had yet been
            adjudicated inin favor
                                favorofofthe  theclaimant
                                                     claimant was wasnotnotmaterial;
                                                                                 material;if theif City's   effortsefforts
                                                                                                   the City’s        to     to
12
12          evaluate the
                       the claims
                              claimswere weresososuperficial
                                                       superficialasas   to to
                                                                             suggest
                                                                                 suggest  thatthat     its official
                                                                                                 its official  attitude
                                                                                                                     attitude
            was one
                  oneofofindifference
                             indifference   to the     truthtruth
                                                  to the      of theofclaim,     such an
                                                                          the claim,           attitude
                                                                                             such           would would
                                                                                                      an attitude
13
13          bespeak an  an indifference
                             indifferencetotothe     therights
                                                           rightsasserted
                                                                     asserted  in those
                                                                                     in thoseclaims....     ProofProof
                                                                                                   claims....      that that
14          other claims
                    claimswere met with indifference for their truth may be one way of way of
                              were     met     with    indifference       for   their    truth    may      be  one
                         the plaintiffs'
            satisfying the                   burden.
                               plaintiffs’burden.
15
15
     Fiacco, 783 F.2d at
     Fiacco,             328.
                      at 328.
16
16
            The Ninth
                Ninth Circuit,     Henry v.v. County
                      Circuit,inin Henry       Countyofof Shasta, 132 F.3d
                                                       Shasta,        F.3d 512,
                                                                           512, 519
                                                                                 519(9th
                                                                                     (9thCir.
                                                                                          Cir.1997),
                                                                                                1997),
17
     stated that
             thatwhen
                  whena municipality "turn[s]
                         a municipality       a blinda eye
                                          “turn[s]         to severe
                                                        blind  eye toviolations
                                                                       severe of  inmates' of inmates’
                                                                                violations
18
18
     constitutional rights--despite  havingreceived
                     rights--despitehaving   receivednotice of of
                                                       notice     such
                                                               such     violations--a
                                                                     violations--a     rational
                                                                                   rational factfact finder
                                                                                                 finder
19
     may properly
         properly infer
                   inferthe
                         theexistence
                             existenceofof
                                         a previous policy
                                           a previous         or custom
                                                           or custom
                                                      policy             of deliberate
                                                                     of deliberate       indifference.”
                                                                                   indifference."
20
                       Monell claim isis based
           plaintiffs’ Monell
     Here, plaintiffs'                    basedininpart
                                                    partonon
                                                           thethe
                                                                allegations relating
                                                                   allegations       to the
                                                                                relating  to brutal and and
                                                                                             the brutal
21
21
     deadly manner
            mannerininwhich
                       whichthethe
                                defendants seized
                                    defendants    Decedent
                                                seized     and theand
                                                       Decedent    unreasonable force
                                                                      the unreasonable force
22
     against him.
              him.In addition, the the Monell
                     In addition,      Monell claim isis based
                                                          basedonon
                                                                  thethe
                                                                      failures of the
                                                                          failures  of defendant's
                                                                                        the defendant’s
23
     decision making
              makingwhich
                     whichultimately caused
                             ultimately     Dominguez'
                                        caused         death.death.
                                               Dominguez’     The critically unfortunate
                                                                     The critically  unfortunate
24
     decision to
               to shoot
                   shootan
                         anunarmed               hadhis
                                    suspect who had
                            unarmedsuspect           hisarmed   raised isis evidence
                                                         armedraised        evidenceofofthe   failure
                                                                                         thefailure
25
     of training and preparation by
                 and preparation  bydefendants  CityofofSan
                                     defendantsCity      SanJose  andSan
                                                             Joseand  SanJose
                                                                          JosePolice  Department
                                                                               PoliceDepartment
26
     of its
         its officers.
              officers.InInthe events
                             the      thatthat
                                 events     followed, defendants
                                                followed,        affirmed,
                                                          defendants        and thereafter
                                                                       affirmed,           repeated,
                                                                                  and thereafter  repeated,
27
     defendant
     defendant Pina's
               Pina’s proffered
                      proffered falsehood  thatDominguez
                                 falsehoodthat             droppedhis
                                                Doming uezdropped   hishands  outofofsight,
                                                                        handsout               leaned
                                                                                       sight,leaned
28
     forward and
             and was
                 wasreaching
                     reachingforfor
                                  a non-existent   weapon
                                                 weapon
                                    a non-existent         when
                                                        when he was shot.shot. (Crowley
                                                                 he was                 Dec.,
                                                                               (CrowleyDec.,


                                                                   24
            PLAINTIFFS'
            PLAINTIFFS’ COMBINED BRIEFRE
                        COMBINEDBRIEF  RESUMMARY
                                          SUMMARY  JUDGMENT
                                                 JUDGMENT MOTIONS-5:18-CV-04826 BLMBLM
                                                            MOTIONS-5:18-CV-04826
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I    Exh. 9,9,DADARpt., pgs.pgs.
                    Rpt.,    6-7).6-7).
                                  This method
                                        This of decision-making
                                              method            is actively and/or
                                                       of decision-making          tacitly and/or tacitly
                                                                              is actively

2    endorsed
     endorsed by
               bydefendants.
                  defendants.A reasonable       trier
                                          trier of
                                 A reasonable      factofcould       determine
                                                               determine
                                                          fact could             thatdefendants'
                                                                         that these   these defendants’

3    endorsement ofofdefendant
     endorsement      defendantPina's falsehood,
                                  Pina’s         their their
                                          falsehood,   failurefailure
                                                                to adequately train its train
                                                                      to adequately            its on
                                                                                         officers   officers on

4    how to
          to properly  detainsuspects
              properlydetain   suspects   not not
                                      andand      subject
                                              subject themthem
                                                           to death and/orand/or
                                                                to death         admonish
                                                                           admonish          its officers
                                                                                    its officers

5    when
     when they
           theyfail
                failtotofollow departmental
                          follow                policies
                                            policies
                                 departmental            regarding
                                                     regarding       the sloppy
                                                               the sloppy        police and
                                                                          police tactics tactics and brutal
                                                                                              brutal

6    use ofofforce
               forcethat ultimately
                      that          resulted
                             ultimately      in death,
                                         resulted      effectively
                                                   in death,       rubber-stamps
                                                               effectively       and leavesand
                                                                            rubber-stamps   the leaves the
7    citizenry vulnerable
     citizenry  vulnerabletotothethe
                                   defendant     officer’s
                                             officer's
                                     defendant             behavior. Monell,
                                                       behavior.                 U.S. atat690-91.
                                                                     MoneIl, 436 U.S.      690-91.

8            Evidentiary
             Evidentiarysupport
                         supportforfor
                                     thethe    andand
                                          CityCity     Police
                                                   Police Department's liabilityliability
                                                              Department’s                is demonstrated
                                                                                  is demonstrated by      by

9    the following   facts:
          followingfacts:

10           -   Subsequent
                 Subsequenttotothe
                                 theshooting, Officer
                                      shooting,       PinaPina
                                                 Officer   waswas
                                                               elevated to Sgt.
                                                                   elevated  to Pina. Pina.
                                                                                Sgt. So,      So, if there
                                                                                         if there

11
11               is any
                    any question
                        questionofofthe
                                      thesupport
                                          supportof of
                                                    hishis
                                                        action    by the
                                                               by the
                                                           action        SJPD,
                                                                      SJPD,     the City
                                                                            the City      Attorney
                                                                                     Attorney      and the
                                                                                              and the

12               District
                 District Attorney,
                          Attorney,it leaves no no
                                      it leaves doubt thatthat
                                                   doubt   he has has been
                                                               he been       elevated
                                                                       elevated        by his conduct
                                                                                by his conduct in     in

13               this
                 this case
                       caseand SJPD
                             and    is complicit
                                 SJPD            in supporting
                                         is complicit          the falsehood
                                                       in supporting         promulgated
                                                                        the falsehood    by
                                                                                      promulgated by

14               defendant Pina
                 defendant  Pinaknowing that,that,
                                  knowing      or they
                                                    or should know, he
                                                       they should     is lying
                                                                     know,    hebased  on the
                                                                                 is lying  based on the

15               physical evidence.
                 physical                        of ballistics
                                         physics of
                           evidence. The physics    ballistics do
                                                               do not  lie— Doming
                                                                   notlie          uez could not
                                                                            Dominguez
                                                                                —                have
                                                                                             not have

16               raised his arms after
                        his arms  afterhe
                                        hewas  shot;
                                           wasshot;

17           -   Further,
                 Further, the
                           theDistrict
                               DistrictAttorney    report
                                                report
                                         Attorney          is also
                                                       is also     complicit
                                                               complicit in theinliethe lie when
                                                                                      when  they find thatfind that
                                                                                                   they

18               Dominguez
                 Dominguezdropped
                           droppedhishis hands
                                      hands justifying Pina Pina
                                                justifying       to shoot
                                                            to shoot —               —   Crowley Dec., Exh. 9,9,
                                                                                         CrowleyDec.,

19                         Pg.8,8,¶2;
                    Rpt., Pg.
                 DA Rpt.,          ¶2;

20           -   The
                 The District
                      DistrictAttorney found
                                Attorney     the second
                                          found                was a was
                                                        bullet bullet
                                                 the second           complete miss — miss
                                                                          a complete                  —   Crowley
                                                                                                          Crowley

21
21               Dec., Exh. 9,  DARpt.,
                            9, DA               ¶3 ¶3
                                         pg.14,14,
                                   Rpt.,pg.            and
                                                   — and      thethe
                                                         yet,yet,
                                                          —          defendants’
                                                                  defendants'     own expert
                                                                              own expert       witness
                                                                                         witness

22               contradicts
                 contradictsthis
                             thisand
                                  andconcludes thatthat
                                       concludes     twotwo  bullets
                                                         bullets     entered
                                                                 entered the cabin of the of
                                                                              the cabin      the vehicle
                                                                                          vehicle —              —




23               one that
                      thatentered
                           enteredthe
                                    theB-pillar
                                         B-pillar was
                                                was a complete     bullet,
                                                               bullet,
                                                       a complete          not wobbling
                                                                       not wobbling or keyholing but but
                                                                                         or keyholing

24               in its
                     its perfect
                          perfecttrajectory. Still,Still,
                                   trajectory.      the District Attorney
                                                          the District    claims claims
                                                                       Attorney  the same    same
                                                                                        thesingle   single bullet
                                                                                                  bullet
25               went
                 went through
                       throughthe
                                thedriver's sideside
                                     driver’s     window, wentwent
                                                     window,   through       and through
                                                                       and through
                                                                    through              the sweatshirt
                                                                                   the sweatshirt

26               (there
                 (there was
                        wasnonoblood found
                                 blood     on the
                                       found      inside
                                              on the     portion
                                                       inside    of the of
                                                               portion  leftthe
                                                                             upper
                                                                                left sleave
                                                                                      upper and no and no
                                                                                             sleave

27                       materialororfibers
                 textile material
                 textile               fibersfound
                                               found
                                                   in the jawjaw
                                                      in the     wound),
                                                               wound),   went
                                                                       went     through
                                                                            through the jaw jawlodged
                                                                                         theand and lodged

28               in the
                    the spinal
                         spinalcord
                                cordkilling  Dominguez;
                                       killing          while
                                               Dominguez;     at the
                                                            while     the same
                                                                   atsame        time,
                                                                           time, the other other portion
                                                                                       theportion of     of


                                                          25
            PLAINTIFFS' COMBINED
            PLAINTIFFS’                RE SUMMARY JUDGMENT
                                 BRIEF RE
                        COMBINED BRIEF                     MOTIONS-5:18-CV-04826 BLM
                                                  JUDGMENT MOTIONS-5:18-CV-04826 BLM
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I
1               the same
                     samebullet impacted
                           bullet        the B-pillar
                                   impacted           of the passenger
                                              the B-pillar             side of theside
                                                             of the passenger      vehicle
                                                                                       of the vehicle            -
                                                                                                                 -




2                       Dec., Exh. 9,
                CrowleyDec.,
                Crowley               DARpt.,
                                   9, DA       pg.14,14,11115,
                                         Rpt.,pg.              6, 7;7;
                                                       11115, 6,

3           -
            -   How
                How could
                    couldthis
                          thismagic
                               magicbullet
                                     bulletbebe
                                              anan accurate
                                                 accurate   depiction
                                                          depiction      of events
                                                                    of the  the events   if Pina
                                                                                   if Pina          is telling
                                                                                            is telling

4               the truth
                     truththat Dominguez
                            that         put his
                                 Dominguez   puthands down and
                                                 his hands     arms
                                                            down    between
                                                                  and  arms his legs as his legs as
                                                                            between

5               though  retrievinga agun
                though retrieving      gun   See Crowley
                                         - See-                     10, Video
                                                         Dec., Exh. 10,
                                                 CrowleyDec.,           VideoofofPina;   and,
                                                                                  Pina;and,

6           -
            -   The
                The District
                     DistrictAttorney's
                              Attorney’sreport is a is
                                           report   distortion of the of
                                                       a distortion   truth,
                                                                         theatruth,
                                                                              toxic torturing torturing
                                                                                     a toxic of the     of the

7               facts
                facts and
                       andan an
                             active participation
                                 active           by the District
                                          participation  by theAttorney
                                                                  DistrictinAttorney
                                                                            the lie thatinis the lie that is
8               perpetrated
                perpetratedacross   their
                            acrosstheir   departments.
                                        departments.

9
        E. Plaintiffs
        E. PlaintiffsDemonstrate
                      DemonstrateSufficient Evidence
                                      Sufficient     in Support
                                                  Evidence   in Of Their State
                                                                Support        Law State Law
                                                                           Of Their
10          Claims
            Claims
            Defendants
            Defendantsargue
                       arguethat plaintiffs'
                              that           state
                                    plaintiffs’    law law
                                                state  causes      of action
                                                              of action
                                                           causes              fail because
                                                                        fail because        defendants’
                                                                                      defendants'
11
11
     actions
     actions were
             werenot
                  notmotivated
                      motivatedby race, and and
                                  by race,  no greater force than
                                                no greater   forcethe     the situation
                                                                      situation
                                                                    than                   was for was
                                                                                called forcalled
12
     used by
           bydefendant
              defendantPina. As discussed
                         Pina.            at length
                                 As discussed       in plaintiffs'
                                                at length          moving papers,
                                                            in plaintiffs’ moving defendants'
                                                                                   papers, defendants’
13
     actions
     actions and
              anddisplay
                  displayof of
                            force were
                               force      objectively
                                       objectively
                                     were              unreasonable,
                                                   unreasonable,      excessive
                                                                 excessive       andthe
                                                                           and were   were the cause
                                                                                        cause
14
     of Decedent
        DecedentDominguez' death.
                 Doming uez’         Martinezv.v.County
                              death. Martinez     Countyof Los    Angeles, 47 Cal.App.4th
                                                               Angeles,
                                                           of Los             Cal.App.4th334,
                                                                                           334,
15
     349 (1996).
         (1996).The defendants
                  The          needlessly
                      defendants          precipitated
                                  needlessly                Dominguez’
                                                       Dominguez'
                                               precipitated       death when  when
                                                                        deaththey shot himshot him
                                                                                    they
16
     while
     while he
            hewas
               wasseated and and
                    seated   unarmed in the in
                                 unarmed    vehicle. Here, defendant
                                               the vehicle.    Here, Pina escalated
                                                                     defendant      an escalated an
                                                                                 Pina
17
     otherwise
     otherwisemanageable
               manageableseizure by placing
                            seizure         himself
                                     by placing     into a potentially
                                                 himself               deadly situation
                                                            into a potentially           situation that
                                                                                 deadlythat
18
     resulted
     resulted ininan  otherwise
                   anotherwise   avoidable
                               avoidable    death.
                                         death.
19
            California CivilCode
            CaliforniaCivil       section
                             Codesection   51.7
                                         51.7   protects
                                              protects against the the
                                                         against   use use  of “violence,
                                                                       of "violence,       or intimidation
                                                                                     or intimidation
20
     by threat
         threatofofviolence, committed
                      violence,        against
                                committed      their persons
                                            against          or property.
                                                      their persons                     of' aaccount of” a
                                                                          . . on accounton
                                                                     or property.           .   .


21
21
     protected characteristic.
     protected  characteristic.Cal.Cal.
                                    Civ. Civ.
                                         CodeCode
                                              §51.7(a). The characteristics
                                                   §51.7(a).                protected protected
                                                              The characteristics     by Civil  by Civil
22
     Code
     Code section
           section51.7
                   51.7include those
                          include    characteristics
                                  those              identified
                                         characteristics        under Civil
                                                           identified under Code
                                                                              Civilsection section 51(b),
                                                                                     Code51(b),
23
     which  states:
     which states:
24

25          All persons  withinthe
                personswithin    thejurisdiction     thisthis
                                                 of of
                                      jurisdiction         state  areare
                                                              state   freefree
                                                                            andand
                                                                                 equal,  and and
                                                                                     equal,          no matter
                                                                                               no matter
            what their
            what             race, color,
                        sex, race,
                  theirsex,                 religion, ancestry,
                                     color, religion,   ancestry,national       origin,
                                                                     nationalorigin,     disability,
                                                                                      disability,     medical
                                                                                                   medical
26          condition,  maritalstatus,
            condition,marital    status,or or sexual
                                           sexual       orientation
                                                   orientation         are entitled
                                                                   are entitled to thetofull   fullequal
                                                                                          theand    and equal
            accommodations,
            accommodations,advantages,
                                  advantages,     facilities,
                                               facilities,      privileges,
                                                            privileges,       or services
                                                                         or services          in all business
                                                                                      in all business
27
            establishmentsofofevery
            establishments        every   kind
                                       kind     whatsoever.
                                             whatsoever.
28   Cal. Civ.
           Civ.Code
                Code§51(b). Here, Here,
                      §51(b).     Decedent is readilyisidentified
                                        Decedent         readily as  a Hispanic
                                                                  identified as male. The
                                                                                 a Hispanic male. The


                                                           26
            PLAINTIFFS’ COMBINED BRIEF RE SUMMARY JUDGMENT MOTIONS-5:18-CV-04826
            PLAINTIFFS'                                                          BLM
                                                           MOTIONS-5:18-CV-04826 BLM
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 I
 1   defendants'
     defendants’ actions
                  actionsare
                          aresosooutrageous andand
                                   outrageous   inconsistent to the
                                                   inconsistent   to situation they encountered
                                                                     the situation  they encountered

2              plaintiffs allege
     such that plaintiffs allege ititmust
                                     musthave
                                          havebeen
                                               beenmotivated
                                                    motivatedbybyracial
                                                                   racialanimus.
                                                                          animus.Here,
                                                                                    Here,
                                                                                       the the  evidence
                                                                                            evidence

3    supports plaintiffs'
               plaintiffs’claim
                            claimofof
                                    violation of California
                                      violation             CivilCivil
                                                 of California    CodeCode
                                                                       section 51.7 based
                                                                            section       on racial
                                                                                    51.7 based  on racial
4    discrimination.
     discrimination.

5           California Civil
                       Civil Code
                              Codesection  52.1provides
                                   section52.1   provides
                                                        forfor
                                                            thethe institution
                                                                institution of aofcivil
                                                                                    a civil action
                                                                                        action against
                                                                                                   against
6    a person
       personwho
              who"interferes by by
                   “interferes  threats, intimidation,
                                   threats,            or coercion,
                                              intimidation,         or attempt
                                                            or coercion,        to interfere
                                                                           or attempt        by
                                                                                         to interfere by
7    threats, intimidation,
               intimidation,ororcoercion, with
                                  coercion,    thethe
                                            with   exercise or enjoyment
                                                      exercise           by any
                                                                or enjoyment  byindividual . . . of
                                                                                 any individual       .   .   .   of

8    rights secured
             securedbybythe
                          theConstitution
                              Constitutionor laws of the
                                             or laws   of United States,
                                                          the United     or . . . or
                                                                      States,     of this state."
                                                                                    .   .  of thisTo
                                                                                            .      state.” To,
9                 claim under
     establish aa claim  underSection
                               Section52.1,
                                       52.1,plaintiffs
                                             plaintiffsneed       prove
                                                        needtotoprove   that
                                                                      that thethe defendants
                                                                                defendants     “interfered
                                                                                           "interfered

10
10   with the
           the plaintiff[s]
                plaintiff[’s]constitutional rights
                               constitutional      by the
                                               rights     requisite
                                                       by the       threats,
                                                              requisite      intimidation,
                                                                         threats,          or coercion."
                                                                                   intimidation, or coercion.”
11
11   Austin
     Austinv.v.Escondido Union
                 Escondido     School
                            Union     Dist., Dist., 149 Cal.App.4th
                                   School               Cal.App.4th869,
                                                                    869,882 (2007).
                                                                          882       The word
                                                                               (2007).  The word
12
12   “interferes” under
     "interferes"  underthis
                         thisstatute
                              statutemeans   “violates.” Id. at p.
                                      means"violates."          p. 883.
                                                                   883. "The
                                                                         “Theessence
                                                                              essenceofof[this]
                                                                                           [this]claim
                                                                                                   claim
13
13   is that
         thatthe
               thedefendant, by the
                    defendant,   by specified improper
                                    the specified      means means
                                                    improper (i.e., "threats,
                                                                        (i.e., intimidation or
                                                                                “threats, intimidation or

14   coercion'),
     coercion’), tried
                  triedtotoorordid
                                didprevent thethe
                                     prevent    plaintiff from
                                                   plaintiff    doing
                                                             from     something
                                                                   doing        that that
                                                                         something   he orhe
                                                                                           she
                                                                                             or had
                                                                                                 shethe
                                                                                                     had the
15
15               under the
     right to do under the law
                            law or
                                or force
                                    force the
                                           the plaintiff
                                                plaintifftotodo  somethingthat
                                                              dosomething  thatheheororshe  wasnot
                                                                                        shewas       required
                                                                                                notrequired
16
16   to do
        do under
            underthe
                  thelaw."
                       law.” Ibid.       enforcementauthority
                                     Law enforcement authorityutilized
                                                                utilizedto to  effectuate
                                                                            effectuate    a seizure
                                                                                       a seizure cancan
17   constitute interference
     constitute  interferencebyby"threats, interference,
                                   “threats,             or coercion"
                                              interference,           if theifpolice
                                                             or coercion”            officerofficer
                                                                               the police    lackedlacked
                                                                                                    a     a
18
18   justificationto
     justification toseize
                      seizeand
                            andsearch
                                searcha aperson.  Colev. v. Doe '1I thru
                                          person.Cole               thru 22 Officers
                                                                            OfficersofofCity
                                                                                         Cityofof Emeryville
                                                                                               Emeryville

19   Police           F.Supp.2d 1084,
            Dept, 387 F.Supp.2d
     Police Dept.,               1084, 1102-1103
                                        1102-1103(N.D.
                                                  (N.D.Cal.
                                                        Cal.2005).
                                                             2005).

20                   officer who
            A police officer who uses unreasonableforce
                                 uses unreasonable forceupon
                                                         uponanother
                                                              anotherunder
                                                                      underFourth
                                                                            FourthAmendment
                                                                                   Amendment
21
21   standards has also
     standards has  also per
                         per se
                             se violated California CivilCode
                                         CaliforniaCivil  Codesection
                                                               section52.1.      Chaudhryv.v.City
                                                                       52.1. See Chaudhry     City

22   of     Angeles, 751
        Los Angeles,
     of Los          751 F.3d
                         F.3d 1096
                              1096 (9th  Cir.2014).
                                    (9thCir.           Civil
                                              2014).Civil Code section
                                                             Code      52.152.1
                                                                  section   doesdoes  not require
                                                                                 not require a a
23   showing ofof'threats,
                    ‘threats,intimidation, or coercion'
                                intimidation,           separate
                                               or coercion’      and distinct
                                                            separate          from anfrom
                                                                       and distinct   underlying
                                                                                          an underlying

24   constitutional violation,
     constitutional violation,independent
                               independentofofthe
                                               theuse      excessiveforce
                                                   useofofexcessive   forceitself.
                                                                              itself. Rodriguez
                                                                                      Rodriguezv.v.County
                                                                                                    County

25   of Los
     of Los Angeles,
            Angeles, 96 F.Supp.
                        F.Supp. 3d
                                3d 990,999
                                    990,999(C.D.
                                            (C.D.Cal.  2014)(citing
                                                  Cal.2014)   (citing Chaudhry,
                                                                      Chaudhry, 751
                                                                                751 F.3d  1096.)
                                                                                    F.3d 1096.)
26   Defendants
     Defendants argue
                 arguethat
                        thatpursuant to to Reese
                              pursuant     Reese v.v.County
                                                      County   of Sacramento, 888 F.3d
                                                            of Sacramento,        F.3d 1030  Cir.
                                                                                        1030Cir.

27   (2018), plaintiffs'
              plaintiffs’Section
                          Section52.1
                                  52.1claim is barred
                                        claim         because
                                               is barred      there
                                                         because    is noisevidence
                                                                  there                   of “a specific
                                                                                    of "a specific
                                                                            no evidence

28          to violate
     intent to  violatethe
                        thearrestee's
                            arrestee’sright
                                         right
                                            to to freedom
                                               freedom     from
                                                        from     unreasonable
                                                              unreasonable     seizure.”
                                                                           seizure."       (citing Reese,
                                                                                     (citing       Reese,


                                                       27
            PLAINTIFFS’ COMBINED
            PLAINTIFFS' COMBINEDBRIEF
                                 BRIEFRE
                                       RESUMMARY
                                          SUMMARY  JUDGMENT
                                                 JUDGMENT   MOTIONS-5:18-CV-04826
                                                          MOTIONS-5:18-CV-04826 BLM BLM
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1
1    888 F.3d
         F.3d atat1043).
                   1043).They
                          Theyare
                                areincorrect because
                                     incorrect           a jury
                                                     a jury
                                               because          could
                                                            could     conclude
                                                                  conclude that the  the defendants’
                                                                                thatdefendants'

2    conduct
     conduct constituted
              constituted"reckless disregard"
                           “reckless          for for
                                      disregard”  Decedent's Fourth
                                                      Decedent’s    Amendment
                                                                 Fourth               right, which
                                                                              right, which
                                                                        Amendment

3    would be
            be "evidence
                “evidenceofofa aspecific intent
                                  specific      to deprive"
                                            intent          him him
                                                   to deprive”  of that
                                                                     of right.       Reese, 888 F.3d
                                                                         that right. Reese,     F.3d atat

4    1045. Moreover,
            Moreover,once defendants'
                       once           VCTVCT
                             defendants’  maneuver put Decedent
                                             maneuver           in a place
                                                        put Decedent    in aof place
                                                                               relativeof relative
5    safety with
            with respect
                  respecttotohim and
                               him   thethe
                                   and   public, theythey
                                            public,   shotshot
                                                           him dead withinwithin
                                                               him dead    scant seconds, and
                                                                                 scant seconds, and

6    thereby violated
     thereby violatedhis
                      hisstate
                          stateconstitutional
                                constitutionalrights. This
                                                 rights.   useuse
                                                         This      of gratuitous
                                                               of gratuitous      violence
                                                                             violence       satisfies
                                                                                       satisfies the the

7
7    elements
     elements required
                requiredby by
                           California Civil Civil
                              California    Code Code
                                                  sectionsection
                                                          52.1. This Court This
                                                                  52.1.    shouldCourt
                                                                                  reject should reject
8    defendants'           andevidence
                  argumentand
     defendants’ argument      evidenceand   affirm
                                        andaffirm judgment on on
                                                    judgment     plaintiffs’
                                                              plaintiffs' state lawlaw
                                                                             state      claims.
                                                                                    claims.

9
        F. Contrary
        F. ContraryToTo
                      Defendants' Depiction,
                         Defendants’         DominguezDominguez
                                         Depiction,    Had Begun TheHad
                                                                     PathBegun
                                                                         To    The Path Tc
10          Recovery
            RecoveryPrior To To
                      Prior  His His Death
                                 Death
            While decedent
                  decedentDominguez
                           Dominguezhad
                                     hadprior gang
                                          prior       affiliations,
                                                   affiliations,
                                                gang             he had, in the
                                                                    he had,      the years
                                                                              in years prior prior
                                                                                             to to
11
11
     his death, sought
                sought sobriety
                        sobrietyand    pathaway
                                 andaapath        fromthe
                                            awayfrom        ganglifestyle.
                                                        thegang    lifestyle.Decedent waswas
                                                                                Decedent     gainfully
                                                                                         gainfully
12
12
     employed as
               asaawindow
                    windowinstaller,
                            installer,with Window
                                        with      Installation
                                             Window            Specialists,
                                                     Installation           fromfrom
                                                                  Specialists,   March 2014 2014
                                                                                     March  to   to
13
     June 2016,
           2016,atat
                  which timetime
                     which    he was
                                  he laid
                                      wasoff.laid off.      (Crowley
                                                            (CrowleySupp.   Dec., Exh. 14,
                                                                     Supp.Dec.,         14,Jessica
                                                                                             Jessica
14
     Dominguez Depo.,
     Dominguez Depo., pg.
                       pg.21,
                           21,I.I.12-14;
                                   12-14;pg.  22,I. I.10-14.)
                                          pg.22,              Decedent
                                                        10-14.)            loved
                                                                       loved
                                                                 Decedent    his job job with
                                                                                  hiswith     Window
                                                                                          Window
15
     Installation Specialists;
                   Specialists;hehe
                                  started as aas
                                     started   glazer and became
                                                  a glazer       the foreman
                                                            and became    the offoreman
                                                                                  his own of his own
16
16
     installation
     installation team               6 installers. (Crowley
                   teamofof5 5toto6 installers.    (CrowleySupp.  Dec., Exh. 14,
                                                            Supp.Dec.,       14, Jessica
                                                                                  JessicaDominguez
                                                                                          Dominguez
17
     Depo., pg.
            pg. 22,
                22, I.I. 18-22.)
                          18-22.)After Dominguez
                                   After         waswas
                                         Dominguez   laid laid
                                                           off, he    he looked
                                                                off,looked  for work      or watched
                                                                                     or watched
                                                                                 for work       the the
18
18
     children as
               ashis
                  hiswife,
                      wife,Jessica, attended
                             Jessica,        school
                                       attended     full-time
                                                school         at DeAnza
                                                          full-time      College
                                                                    at DeAnza    to become
                                                                               College      a
                                                                                        to become a
19
     nurse; Jessica
             Jessicaattended
                      attendedDeAnza fromfrom
                                DeAnza     20152015
                                                to 2019.
                                                     to 2019.            (Crowley Supp.
                                                                         (Crowley         Dec., Exh. 14,
                                                                                   Supp.Dec.,         14,
20
     Jessica Dominguez
             DominguezDepo.,
                       Depo.,pg.  29,I. I.14-25;
                              pg.29,       14-25;pg.          I. 4-5.)
                                                  pg.30,30,I. 4-5.)
21
21
            In
            In an
               an effort
                   efforttotoreclaim sobriety,
                               reclaim         andand
                                       sobriety,   justjust
                                                        priorprior
                                                              to histodeath, Dominguez
                                                                       his death,      voluntarily
                                                                                  Dominguez   voluntarily
22
     enrolled in
               in Homes forLoving
                  Homesfor         Fathers,ananall-male,
                            LovingFathers,       all-male,  live-in
                                                         live-in    rehabilitation
                                                                 rehabilitation    program.
                                                                                program.        (Crowley
                                                                                                (Crowley
23
            Dec., Exh. 14,
     Supp. Dec.,        14, Jessica
                             JessicaDominguez
                                     DominguezDepo., pg. 48,
                                                Depo.,   pg. I.48,
                                                                21-22.) Homes Homes
                                                                   I. 21-22.) for Loving
                                                                                       for Loving
24
     Fathers was
             was aa Christian
                     Christianhome
                               homeforformen's
                                          men’ssober     living
                                                     living
                                                 sober       andand
                                                                 Dominguez     entered
                                                                           entered
                                                                    Dominguez          the program
                                                                                   the program
25
     because he
              he had
                  hadrelapsed
                       relapsedin in
                                   hishis
                                       drinking andand
                                          drinking  wanted help help
                                                       wanted            get sober. (Crowley
                                                                to gettosober.               Supp.
                                                                                    (CrowleySupp.
26
     Dec., Exh. 14,
                14, Jessica
                     JessicaDominguez
                             DominguezDepo.,
                                       Depo.,pg.pg.
                                                 50, 50,
                                                     I. 4-10;  pg. 51,
                                                          I. 4-10;  pg. I.51,
                                                                           9-11; pg. 53,pg.
                                                                              I. 9-11;   I. 2-4.)
                                                                                             53, I. 2-4.)
27
           Dominguezresided
     While Dominguez             HomesforforLoving
                     residedatatHomes        LovingFathers, hehe
                                                     Fathers,    would
                                                              would    receive
                                                                    receive    “passes”
                                                                            "passes"     to visit
                                                                                     to visit
28



                                                      28
            PLAINTIFFS’                RE SUMMARY
                                 BRIEF RE
                        COMBINED BRIEF
            PLAINTIFFS' COMBINED          SUMMARY JUDGMENT MOTIONS-5:18-CV-04826 BLM
                                                  JUDGMENT MOTIONS-5:18-CV-04826 BLM
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1
1    his family, and
                 and Jessica
                      Jessicaand
                              andthe
                                   thechildren
                                       childrenalso visited
                                                 also        Dominguez
                                                       visited         at Homes
                                                               Dominguez         more
                                                                           at Homes   thanthan
                                                                                    more   onceonce

2    a week.   (CrowleySupp.
               (Crowley       Dec., Exh. 14,
                        Supp.Dec.,           Jessica Dominguez
                                         14, Jessica           Depo.,pg.
                                                     DominguezDepo.,      55,I. I.14-18;
                                                                      pg.55,       14-18;pg.
                                                                                          pg.55,
                                                                                              55,

3    1.25
     I. 25 through pg. 56,1.1-12.)
                       56, I. 1-12.)At At
                                       some  point,
                                          some      Dominguez
                                               point,         left left
                                                      Dominguez     Homes      for Loving
                                                                           for Loving
                                                                        Homes         Fathers, and and
                                                                                          Fathers,

4    unfortunately, Jessica
                     Jessicadid
                             didnotnot
                                    know  of this
                                       know       fact fact
                                              of this  until until
                                                             after after
                                                                   the shooting.
                                                                         the shooting. (Crowley
                                                                                       (CrowleySupp.
                                                                                                Supp.
55   Dec., Exh.
           Exh. 14,
                14, Jessica
                    Jessica Dominguez
                            DominguezDepo.,
                                      Depo.,pg.
                                             pg.57,
                                                 57,I. I.8-16.)
                                                           8-16.)

6
                                             CONCLUSION
                                             CONCLUSION
7
            Plaintiffs respectfully
                       respectfullyrequest
                                    requestthe
                                            theCourt
                                                Courtgrant
                                                      granttheir Motion
                                                             their      and
                                                                   Motion   find
                                                                          and    as as
                                                                               find a matter of law
                                                                                       a matter  of law
8
     that (1)
           (1) the
                theseizure
                    seizureofofDominguez
                                Dominguezand thethe
                                           and   lethal force
                                                     lethal   usedused
                                                            force  against decedent
                                                                       against      violated
                                                                               decedent      the the
                                                                                          violated
9
     Fourth and
            and Fourteenth
                FourteenthAmendments
                           Amendmentstotothethe
                                              United States
                                                United      Constitution,
                                                        States            andand
                                                               Constitution,  California Civil Civil
                                                                                  California
10
     Code sections
          sections 51.7
                    51.7and
                         and52.1;
                             52.1;(2)(2)
                                      thethe
                                          CityCity
                                               of San  Jose,
                                                   of San    San San
                                                          Jose,  JoseJose
                                                                      PolicePolice
                                                                             Department  and and
                                                                                   Department
11
11
     Officer Pina
              Pinaare
                   areliable; andand
                         liable;  (3) plaintiffs may recover
                                      (3) plaintiffs         damages
                                                     may recover     proximately
                                                                  damages        caused by
                                                                            proximately caused by
12
12
     defendants'
     defendants’ violation
                 violationofofDominguez'
                               Dominguez’well-recognized
                                          well-recognizedconstitutional rights.
                                                           constitutional  rights.
13
13

14

15
15   Dated: April
             April1,1,2022
                        2022
16
16
                                                                 EVIN
                                                                   VIN CROWLEY
                                                                        CROWLEY
17                                                                    Plaintiffs,
                                                              ney for Plaintiffs,
                                                         JESSICA DOMINGUEZ        DIVIDUALLY
                                                                    DOMINGUEZFSIDIVIDUALLY
18                                                       AND JESSICA DOMINDOMINUEZUEZ AS
                                                                                       AS
                                                         GUARDIAN AD
                                                         GUARDIAN          LITEM FOR
                                                                       AD LITEM   FOR JAD (1), JAD
                                                                                      JAD (1), JAD
19                                                       (2) and JAD
                                                                 JAD (3)
                                                                       (3)
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           PLAINTIFFS’          BRIEFRE
                       COMBINEDBRIEF
           PLAINTIFFS' COMBINED       RESUMMARY
                                         SUMMARY  JUDGMENT
                                                JUDGMENT                       BLMBLM
                                                           MOTIONS-5:18-CV-04826
                                                         MOTIONS-5:18-CV-04826
